     Case 1:21-cr-00190-DLF         Document 141   Filed 12/02/24   Page 1 of 46


                                                                APPEAL,CAP,CAT B,CLOSED
                         U.S. District Court
              District of Columbia (Washington, DC)
  CRIMINAL DOCKET FOR CASE #: 1:21−cr−00190−DLF All Defendants

Case title: USA v. ALAM

Magistrate judge case number: 1:21−mj−00165−ZMF

Date Filed: 03/05/2021

Assigned to: Judge Dabney L. Friedrich

Defendant (1)
ZACHARY JORDAN ALAM                       represented by Jerry Ray Smith , Jr.
                                                         JERRY RAY SMITH, JR., ATTORNEY AT
                                                         LAW
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                                                         Suite 310
                                                         Washington, DC 20004
                                                         202−641−4211
                                                         Email: jerryraysmith@verizon.net
                                                         TERMINATED: 07/17/2023
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED
                                                         Designation: CJA Appointment

                                                      Steven Alan Metcalf , II
                                                      METCALF & METCALF, P.C.
                                                      99 Park Avenue
                                                      6th Floor
                                                      New York, NY 10016
                                                      646−253−0514
                                                      Fax: 646−219−2012
                                                      Email: fedcases@metcalflawnyc.com
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED
                                                      Designation: CJA Appointment

                                                      Michael E. Lawlor
                                                      BRENNAN MCKENNA & LAWLOR
                                                      6305 Ivy Lane
                                                      Suite 700
                                                      Greenbelt, MD 20770
                                                      (301) 474−0044
                                                      Fax: (301) 474−5730
                                                      Email: mlawlor@verizon.net
                                                      TERMINATED: 11/17/2022
                                                      Designation: Retained

                                                                                             1
    Case 1:21-cr-00190-DLF          Document 141   Filed 12/02/24      Page 2 of 46




                                                      Nicholas George Madiou
                                                      BRENNAN, MCKENNA & LAWLOR,
                                                      CHARTERED
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                                                      Greenbelt, MD 20770
                                                      301−474−0044
                                                      Fax: 301−474−5730
                                                      Email: nickmadiou@gmail.com
                                                      TERMINATED: 11/17/2022
                                                      Designation: Retained

Pending Counts                                        Disposition
18:111(a)(1);
ASSAULTING/RESISTING/IMPEDING
                                                      DISMISSED AT THE REQUEST OF THE
OFFICERS/EMPLOYEES; Assaulting,
                                                      GOVERNMENT
Resisting, or Impeding Certain Officers.
(1)
18:111(a)(1);
ASSAULTING/RESISTING/IMPEDING
                                                      DISMISSED AT THE REQUEST OF THE
OFFICERS/EMPLOYEES; Assaulting,
                                                      GOVERNMENT
Resisting, or Impeding Certain Officers
(1s)
18:111(a)(1);
                                                      Defendant sentenced to ninety−six (96)
ASSAULTING/RESISTING/IMPEDING
                                                      months of incarceration, three (3) years of
OFFICERS/EMPLOYEES; Assaulting,
                                                      supervised release, $4,484 restitution and
Resisting, or Impeding Certain Officers.
                                                      $100 special assessment
(1ss)
18:111(a)(1) and (b);
ASSAULTING/RESISTING/IMPEDING
OFFICERS/EMPLOYEES; Assaulting,                       DISMISSED AT THE REQUEST OF THE
Resisting, or Impeding Certain Officers               GOVERNMENT
Using a Dangerous Weapon.
(2)
18:111(a)(1) and (b);
ASSAULTING/RESISTING/IMPEDING
OFFICERS/EMPLOYEES; Assaulting,                       DISMISSED AT THE REQUEST OF THE
Resisting, or Impeding Certain Officers               GOVERNMENT
Using a Dangerous Weapon
(2s)
18:111(a)(1) and (b);
ASSAULTING/RESISTING/IMPEDING
OFFICERS/EMPLOYEES; Assaulting,                       DISMISSED AT THE REQUEST OF THE
Resisting, or Impeding Certain Officers               GOVERNMENT
Using a Dangerous Weapon.
(2ss)




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    Case 1:21-cr-00190-DLF           Document 141   Filed 12/02/24      Page 3 of 46


18:231(a)(3) and 2; CIVIL DISORDER;                    DISMISSED AT THE REQUEST OF THE
Civil Disorder and Aiding and Abetting.                GOVERNMENT
(3)
18:23l(a)(3) and 2; CIVIL DISORDER;
                                                       DISMISSED AT THE REQUEST OF THE
Civil Disorder and Aiding and Abetting
                                                       GOVERNMENT
(3s)
                                                       Defendant sentenced to sixty (60) months of
18:231(a)(3); CIVIL DISORDER; Civil                    incarceratin to run concurrent with Count
Disorder.                                              1ss, three (3) years of supervised release to
(3ss)                                                  run concurrent with Count 1ss, $4,484
                                                       restitution and $100 special assessment
18:1361; GOVERNMENT PROPERTY
OR CONTRACTS >; Destruction of                         DISMISSED AT THE REQUEST OF THE
Government Property.                                   GOVERNMENT
(4)
18:1361; GOVERNMENT PROPERTY
OR CONTRACTS; Destruction of                           DISMISSED AT THE REQUEST OF THE
Government Property                                    GOVERNMENT
(4s)
                                                       Defendant sentenced to ninety−six (96)
18:1361; GOVERNMENT PROPERTY                           months of incarceration to run concurrent
OR CONTRACTS (>1000); Destruction of                   with Count 1ss, three (3) years of supervised
Government Property.                                   release to run concurrent with Count 1ss,
(4ss)                                                  $4,484 restitution and $100 special
                                                       assessment
18:1512(c)(2) and 2; TAMPERING WITH
A WITNESS, VICTIM OR
                                                       DISMISSED AT THE REQUEST OF THE
INFORMANT; Obstruction of an Official
                                                       GOVERNMENT
Proceeding and Aiding and Abetting.
(5)
18:1512(c)(2) and 2; TAMPERING WITH
A WITNESS, VICTIM OR
                                                       DISMISSED AT THE REQUEST OF THE
INFORMANT; Obstruction of an Official
                                                       GOVERNMENT
Proceeding and Aiding and Abetting
(5s)
18:1512(c)(2) and 2; TAMPERING WITH
A WITNESS, VICTIM OR
INFORMANT; Obstruction of an Official                  DISMISSED BY THE COURT
Proceeding and Aiding and Abetting.
(5ss)
18:1752(a)(1) and (b)(1)(A);
TEMPORARY RESIDENCE OF THE
PRESIDENT; Entering and Remaining in a                 DISMISSED AT THE REQUEST OF THE
Restricted Building with a Deadly or                   GOVERNMENT
Dangerous Weapon.
(6)




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    Case 1:21-cr-00190-DLF            Document 141   Filed 12/02/24      Page 4 of 46


18:1752(a)(l) and (b)(l)(A);                            DISMISSED AT THE REQUEST OF THE
TEMPORARY RESIDENCE OF THE                              GOVERNMENT
PRESIDENT; Entering and Remaining in a
Restricted Building with a Deadly or
Dangerous Weapon
(6s)
18:1752(a)(1) and (b)(1)(A);                            Defendant sentenced to ninety−six (96)
TEMPORARY RESIDENCE OF THE                              months of incarceration to run concurrent
PRESIDENT; Entering and Remaining in a                  with Count 1ss, three (3) years of supervised
Restricted Building with a Deadly or                    release to run concurrent with Count 1ss,
Dangerous Weapon.                                       $4,484 restitution and $100 special
(6ss)                                                   assessment
18:1752(a)(2) and (b)(1)(A);
TEMPORARY RESIDENCE OF THE
PRESIDENT; Disorderly and Disruptive                    DISMISSED AT THE REQUEST OF THE
Conduct in a Restricted Building with a                 GOVERNMENT
Deadly or Dangerous Weapon.
(7)
18:1752(a)(2) and (b)(l)(A);
TEMPORARY RESIDENCE OF THE
PRESIDENT; Disorderly and Disruptive                    DISMISSED AT THE REQUEST OF THE
Conduct in a Restricted Building with a                 GOVERNMENT
Deadly or Dangerous Weapon
(7s)
18:1752(a)(2) and (b)(1)(A);                            Defendant sentenced to ninety−six (96)
TEMPORARY RESIDENCE OF THE                              months of incarceration to run concurrent
PRESIDENT; Disorderly and Disruptive                    with Count 1ss, three (3) years of supervised
Conduct in a Restricted Building with a                 release to run concurrent with Count 1ss,
Deadly or Dangerous Weapon.                             $4,484 restitution and $100 special
(7ss)                                                   assessment
18:1752(a)(4) and (b)(1)(A);
TEMPORARY RESIDENCE OF THE
PRESIDENT; Engaging in Physical                         DISMISSED AT THE REQUEST OF THE
Violence in a Restricted Building with a                GOVERNMENT
Deadly or Dangerous Weapon.
(8)
18:1752(a)(4) and (b)(l)(A);
TEMPORARY RESIDENCE OF THE
PRESIDENT; Engaging in Physical                         DISMISSED AT THE REQUEST OF THE
Violence in a Restricted Building with a                GOVERNMENT
Deadly or Dangerous Weapon
(8s)
18:1752(a)(4) and (b)(1)(A);                            Defendant sentenced to ninety−six (96)
TEMPORARY RESIDENCE OF THE                              months of incarceration to run concurrent
PRESIDENT; Engaging in Physical                         with Count 1ss, three (3) years of supervised
Violence in a Restricted Building with a                release to run concurrent with Count 1ss,
Deadly or Dangerous Weapon.                             $4,484 restitution and $100 special
(8ss)                                                   assessment


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    Case 1:21-cr-00190-DLF            Document 141   Filed 12/02/24     Page 5 of 46


40:5104(e)(2)(D); FEDERAL
STATUTES, OTHER; Disorderly Conduct                     DISMISSED AT THE REQUEST OF THE
in a Capitol Building.                                  GOVERNMENT
(9)
40:5104(e)(2)(D); VIOLENT ENTRY
AND DISORDERLY CONDUCT ON
                                                        DISMISSED AT THE REQUEST OF THE
CAPITOL GROUNDS; Disorderly
                                                        GOVERNMENT
Conduct in a Capitol Building
(9s)
40:5104(e)(2)(D); VIOLENT ENTRY
                                                        Defendant sentenced to six (6) months of
AND DISORDERLY CONDUCT ON
                                                        incarceration to run concurrent with Count
CAPITOL GROUNDS; Disorderly
                                                        1ss, $4,484 restitution and $10 special
Conduct in a Capitol Building.
                                                        assessment
(9ss)
40:5104(e)(2)(F); FEDERAL STATUTES,
OTHER; Act of Physical Violence in the                  DISMISSED AT THE REQUEST OF THE
Capitol Building.                                       GOVERNMENT
(10)
40:5104(e)(2)(F); VIOLENT ENTRY
AND DISORDERLY CONDUCT ON
                                                        DISMISSED AT THE REQUEST OF THE
CAPITOL GROUNDS; Act of Physical
                                                        GOVERNMENT
Violence in the Capitol Building
(10s)
40:5104(e)(2)(F); VIOLENT ENTRY
                                                        Defendant sentenced to six (6) months of
AND DISORDERLY CONDUCT ON
                                                        incarceration to run concurrent with Count
CAPITOL GROUNDS; Act of Physical
                                                        1ss, $4,484 restitution and $10 special
Violence in the Capitol Building.
                                                        assessment
(10ss)
40:5104(e)(2)(G); FEDERAL
STATUTES, OTHER; Parading,
                                                        DISMISSED AT THE REQUEST OF THE
Demonstrating, or Picketing in a Capitol
                                                        GOVERNMENT
Building.
(11)
40:5104(e)(2)(G); VIOLENT ENTRY
AND DISORDERLY CONDUCT ON
CAPITOL GROUNDS; Parading,                              DISMISSED AT THE REQUEST OF THE
Demonstrating, or Picketing in a Capitol                GOVERNMENT
Building
(11s)
40:5104(e)(2)(G); VIOLENT ENTRY
AND DISORDERLY CONDUCT ON                               Defendant sentenced to six (6) months of
CAPITOL GROUNDS; Parading,                              incarceration to run concurrent with Count
Demonstrating, or Picketing in a Capitol                1ss, $4,484 restitution and $10 special
Building.                                               assessment
(11ss)

Highest Offense Level (Opening)


                                                                                                     5
     Case 1:21-cr-00190-DLF          Document 141   Filed 12/02/24      Page 6 of 46


Felony

Terminated Counts                                       Disposition
None

Highest Offense Level (Terminated)
None

Complaints                                              Disposition
COMPLAINT in VIOLATION of 18
U.S.C. §§ 111(a) and (b); 18 U.S.C. §
1361; 18 U.S.C. § 1512(c)(2); 18 U.S.C.
§§ 1752(a) and (b); 40 U.S.C. §§
5104(e)(2)(D), (F) and (G)



Plaintiff
USA                                         represented by Candice Chiu Wong
                                                           U.S. ATTORNEY'S OFFICE FOR THE
                                                           DISTRICT OF COLUMBIA
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                                                           Washington, DC 20530
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                                                           TERMINATED: 04/05/2022
                                                           Designation: Assistant U.S. Attorney

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                                                          DOJ−USAO
                                                          Southern District of Indiana
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                                                          TERMINATED: 04/13/2023
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                                                          Joseph S. Smith
                                                          USAO
                                                          LRM: Jim Heckman
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                                                          ATTORNEY TO BE NOTICED
                                                          Designation: Retained


                                                                                                  6
   Case 1:21-cr-00190-DLF        Document 141         Filed 12/02/24      Page 7 of 46




                                                            Melanie Alsworth
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                                                            Rebekah Lederer
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                                                            Criminal
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                                                            ATTORNEY TO BE NOTICED

Date Filed   #    Docket Text
01/25/2021   1    SEALED COMPLAINT as to ZACHARY JORDAN ALAM (1). (Attachments: # 1
                  Affidavit in Support) (zltp) [1:21−mj−00165−ZMF] (Entered: 01/26/2021)
01/25/2021   3    MOTION to Seal Case by USA as to ZACHARY JORDAN ALAM. (Attachments: #
                  1 Text of Proposed Order)(zltp) [1:21−mj−00165−ZMF] (Entered: 01/26/2021)
01/25/2021   4    ORDER granting 3 Motion to Seal Case as to ZACHARY JORDAN ALAM (1).
                  Signed by Magistrate Judge Zia M. Faruqui on 1/25/2021. (zltp)
                  [1:21−mj−00165−ZMF] (Entered: 01/26/2021)
01/30/2021        Case unsealed as to ZACHARY JORDAN ALAM (bb) [1:21−mj−00165−ZMF]
                  (Entered: 02/01/2021)
01/30/2021        Arrest of ZACHARY JORDAN ALAM in US District Court for the Eastern District
                  of Pennsylvania. (bb) (Entered: 03/30/2021)
03/04/2021   11   Rule 5(c)(3) Documents Received as to ZACHARY JORDAN ALAM from US
                  District Court for the Eastern District of Pennsylvania Case Number 21−mj−196 (bb)
                  (Entered: 03/30/2021)
03/05/2021    5   INDICTMENT as to ZACHARY JORDAN ALAM (1) count(s) 1, 2, 3, 4, 5, 6, 7, 8,
                  9, 10, 11. (zhsj) (Entered: 03/08/2021)
03/16/2021    7   NOTICE OF ATTORNEY APPEARANCE: Michael E. Lawlor appearing for
                  ZACHARY JORDAN ALAM (Lawlor, Michael) (Entered: 03/16/2021)
03/16/2021    8   NOTICE of Filing − Discovery Letter by ZACHARY JORDAN ALAM
                  (Attachments: # 1 Supplement Discovery Letter)(Lawlor, Michael) (Entered:
                  03/16/2021)
03/16/2021    9   NOTICE OF ATTORNEY APPEARANCE: Nicholas George Madiou appearing for
                  ZACHARY JORDAN ALAM (Madiou, Nicholas) (Entered: 03/16/2021)


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   Case 1:21-cr-00190-DLF         Document 141         Filed 12/02/24        Page 8 of 46



03/16/2021        MINUTE ORDER. Pursuant to the Due Process Protections Act, the Court ORDERS
                  that all government counsel shall review their disclosure obligations under Brady v.
                  Maryland, 373 U.S. 83 (1963), and its progeny, as set forth in Local Criminal Rule
                  5.1, and comply with those provisions. The failure to comply could result in dismissal
                  of the indictment or information, dismissal of individual charges, exclusion of
                  government evidence or witnesses, continuances, Bar discipline, or any other remedy
                  that is just under the circumstances. So Ordered by Judge Dabney L. Friedrich on
                  March 16, 2021. (lcdlf2) (Entered: 03/16/2021)
03/26/2021   10   NOTICE OF DISCOVERY by USA as to ZACHARY JORDAN ALAM
                  (Attachments: # 1 Exhibit)(Wong, Candice) (Entered: 03/26/2021)
03/26/2021        NOTICE OF HEARING as to ZACHARY JORDAN ALAM. Arraignment and
                  Status set for 3/29/2021 at 9:30 AM via Video before Judge Dabney L. Friedrich.
                  (zjch) (Entered: 03/26/2021)
03/29/2021        Minute Entry for Status Conference as to ZACHARY JORDAN ALAM held on
                  3/29/2021 before Judge Dabney L. Friedrich. Speedy Trial Excludable (XT) started
                  3/29/2021 through 4/9/2021 in the interest of justice. Arraignment set for 4/9/2021 at
                  9:30 AM in Telephonic/VTC before Judge Dabney L. Friedrich. Bond Status of
                  Defendant: Committed; Court Reporter: Sara Wick; Defense Attorney: Michael
                  Lawlor; US Attorney: Candice Wong; Pretrial Officer: Andre Sidbury. (zjch)
                  (Entered: 03/29/2021)
04/13/2021        Minute Entry for Status Conference and Arraignment (continued from 4/9/2021) as to
                  ZACHARY JORDAN ALAM on Counts 1,2,3,4,5,6,7,8,9,10,11 held on 4/13/2021
                  before Judge Dabney L. Friedrich. Speedy Trial Excludable (XT) started 4/9/2021
                  through 5/28/2021 in the interest of justice. Not Guilty Plea entered by ZACHARY
                  JORDAN ALAM as to Counts 1,2,3,4,5,6,7,8,9,10,11. Status Conference set for
                  5/28/2021 at 10:00 AM via video before Judge Dabney L. Friedrich. Bond Status of
                  Defendant: Committed; Court Reporter: Sara Wick; Defense Attorney: Michael
                  Lawlor; US Attorney: Candice Wong. (zjch) (Entered: 04/13/2021)
04/14/2021        MINUTE ORDER as to ZACHARY JORDAN ALAM. Consistent with the
                  discussion during the status conference and arraignment held on April 13, 2021, and
                  for reasons stated−−namely the need for the defense to review forthcoming discovery
                  and determine how to best defend this case, see 18 U.S.C. § 3161(h)(7)(B)(iv)−−the
                  Court finds that the "ends of justice outweigh the best interest of the public and the
                  defendant in a speedy trial." 18 U.S.C. § 3161(h)(7)(A). Accordingly, the Court
                  excludes time from April 13, 2021 to May 28, 2021 in computing the date for a
                  speedy trial. So Ordered by Judge Dabney L. Friedrich on April 14, 2021. (lcdlf2)
                  (Entered: 04/14/2021)
04/28/2021   12   Unopposed MOTION for Protective Order by USA as to ZACHARY JORDAN
                  ALAM. (Attachments: # 1 Text of Proposed Order)(Wong, Candice) (Entered:
                  04/28/2021)
04/29/2021   13   ORDER granting the government's 12 Unopposed Motion for Protective Order as to
                  ZACHARY JORDAN ALAM. See text for details. Signed by Judge Dabney L.
                  Friedrich on April 29, 2021. (lcdlf2) (Entered: 04/29/2021)
05/24/2021   14   NOTICE OF DISCOVERY by USA as to ZACHARY JORDAN ALAM
                  (Attachments: # 1 Exhibit)(Wong, Candice) (Entered: 05/24/2021)
05/25/2021   15


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   Case 1:21-cr-00190-DLF         Document 141         Filed 12/02/24        Page 9 of 46



                  Unopposed MOTION for Disclosure AN ORDER TO DISCLOSE ITEMS
                  PROTECTED BY FEDERAL RULE OF CRIMINAL PROCEDURE 6(e) AND
                  SEALED MATERIALS by USA as to ZACHARY JORDAN ALAM. (Attachments: #
                  1 Text of Proposed Order)(Wong, Candice). Modified event title on 5/26/2021
                  (znmw). (Entered: 05/25/2021)
05/26/2021        MINUTE ORDER granting the government's 15 Unopposed Motion for an Order to
                  Disclose Items Protected by Federal Rule of Criminal Procedure 6(e) and Sealed
                  Materials. Accordingly, it is ORDERED that the government may provide in
                  discovery materials protected by Federal Rule of Criminal Procedure 6(e) and it may
                  also provide sealed materials, pursuant to the previously entered protective order
                  governing discovery. It is FURTHER ORDERED that this Order shall apply to the
                  disclosure of materials described above to any co−defendants who may later be
                  joined. So Ordered by Judge Dabney L. Friedrich on May 26, 2021. (lcdlf2) (Entered:
                  05/26/2021)
05/26/2021   16   Unopposed MOTION O EXCLUDE TIME UNDER THE SPEEDY TRIAL ACT by
                  USA as to ZACHARY JORDAN ALAM. (Attachments: # 1 Text of Proposed
                  Order)(Wong, Candice) Modified Event on 5/26/2021 (zhsj). (Entered: 05/26/2021)
05/26/2021   17   NOTICE OF DISCOVERY by USA as to ZACHARY JORDAN ALAM
                  (Attachments: # 1 Exhibit)(Wong, Candice) (Entered: 05/26/2021)
05/28/2021        Minute Entry for Status Conference as to ZACHARY JORDAN ALAM held on
                  5/28/2021 before Judge Dabney L. Friedrich. Speedy Trial Excludable (XT) started
                  5/28/2021 through 7/21/2021 in the interest of justice. Motions due by 6/4/2021.
                  Responses due by 6/11/2021. Motion Hearing set for 6/24/2021 at 12:30 PM via
                  video before Judge Dabney L. Friedrich. Status Conference set for 7/21/2021 at 10:00
                  AM via video before Judge Dabney L. Friedrich. Bond Status of Defendant:
                  Committed; Court Reporter: Sara Wick; Defense Attorney: Michael Lawlor; US
                  Attorney: Candice Wong. (zjch) (Entered: 05/28/2021)
05/28/2021        MINUTE ORDER as to ZACHARY JORDAN ALAM. It is ORDERED that the
                  defendant shall submit his motion to revoke detention on or before June 4, 2021; the
                  government shall file its opposition on or before June 11, 2021; and the defendant
                  shall file any reply on or before June 18, 2021. A motions hearing is set for June 24,
                  2021 at 12:30 p.m. via videoconference, and a status conference is set for July 21,
                  2021 at 10:00 a.m. via videoconference. Consistent with the discussion during the
                  status conference held on May 28, 2021, and for the reasons stated−−namely, the
                  need for the defense to review voluminous and forthcoming discovery and to
                  determine how best to defend this case, see 18 U.S.C. § 3161(h)(7)(B)(iv)−−the
                  Court finds that the "ends of justice outweigh the best interest of the public and the
                  defendant in a speedy trial." 18 U.S.C. § 3161(h)(7)(A). Accordingly, pursuant to the
                  Speedy Trial Act and with the consent of the defendant, the government's 16
                  Unopposed Motion to Exclude Time Under the Speedy Trial Act is granted, and the
                  time from May 28, 2021 through July 21, 2021 shall be excluded in computing the
                  date for a speedy trial in this case. So Ordered by Judge Dabney L. Friedrich on May
                  28, 2021. (lcdlf2) (Entered: 05/28/2021)
06/04/2021   18   MOTION for Bond and Conditions of Release by ZACHARY JORDAN ALAM.
                  (Lawlor, Michael) (Entered: 06/04/2021)
06/11/2021   19   Memorandum in Opposition by USA as to ZACHARY JORDAN ALAM re 18
                  MOTION for Bond and Conditions of Release (Wong, Candice) (Entered:


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  Case 1:21-cr-00190-DLF        Document 141         Filed 12/02/24       Page 10 of 46



                  06/11/2021)
06/11/2021   20   NOTICE of Discovery by USA as to ZACHARY JORDAN ALAM (Attachments: #
                  1 Exhibit Discovery Letter)(Wong, Candice) (Entered: 06/11/2021)
06/17/2021        Set/Reset Hearings as to ZACHARY JORDAN ALAM: Motion Hearing set for
                  6/24/2021 at 9:30 AM via video before Judge Dabney L. Friedrich. (zjch) (Entered:
                  06/17/2021)
06/24/2021        Minute Entry for Motion Hearing as to ZACHARY JORDAN ALAM held on
                  6/24/2021 re 18 MOTION for Bond and Conditions of Release filed by ZACHARY
                  JORDAN ALAM before Judge Dabney L. Friedrich: Court denies defendant's 18
                  Motion for Bond as to ZACHARY JORDAN ALAM (1); Bond Status of Defendant:
                  Remains Committed; Court Reporter: Sara Wick Defense Attorney: Michael E.
                  Lawlor; US Attorney: Candice Chiu Wong. (zjch) (Entered: 06/24/2021)
06/24/2021        MINUTE ORDER as to ZACHARY JORDAN ALAM. For the reasons stated in the
                  June 24, 2021 hearing, it is ORDERED that the defendant's 18 Motion for Bond and
                  Conditions of Release is DENIED. A status conference is set for July 21, 2021 at
                  10:00 a.m. via videoconference. So Ordered by Judge Dabney L. Friedrich on June
                  24, 2021. (lcdlf2) (Entered: 06/24/2021)
07/06/2021   21   NOTICE OF DISCOVERY by USA as to ZACHARY JORDAN ALAM
                  (Attachments: # 1 Exhibit)(Wong, Candice) (Entered: 07/06/2021)
07/08/2021   22   NOTICE OF DISCOVERY by USA as to ZACHARY JORDAN ALAM
                  (Attachments: # 1 Exhibit)(Wong, Candice) (Entered: 07/08/2021)
07/13/2021   23   NOTICE Memorandum Regarding Status of Discovery by USA as to ZACHARY
                  JORDAN ALAM (Attachments: # 1 Additional Examples of Defense Discovery
                  Requests)(Wong, Candice) (Entered: 07/13/2021)
07/14/2021   24   NOTICE OF DISCOVERY by USA as to ZACHARY JORDAN ALAM
                  (Attachments: # 1 Exhibit)(Wong, Candice) (Entered: 07/14/2021)
07/21/2021        Minute Entry for Status Conference as to ZACHARY JORDAN ALAM held on
                  7/21/2021 before Judge Dabney L. Friedrich. Speedy Trial Excludable (XT) started
                  7/21/2021 through 8/17/2021 in the interest of justice. Status Conference set for
                  8/17/2021 at 11:00 AM via video before Judge Dabney L. Friedrich. Bond Status of
                  Defendant: Remains Committed; Court Reporter: Sara Wick; Defense Attorney:
                  Michael E. Lawlor; US Attorney: Candice Chiu Wong. (zjch) (Entered: 07/21/2021)
08/17/2021        Minute Entry for Status Conference as to ZACHARY JORDAN ALAM held on
                  8/17/2021 before Judge Dabney L. Friedrich. Speedy Trial Excludable (XT) started
                  8/17/2021 through 9/15/2021 in the interest of justice. Motions due by 8/30/2021.
                  Responses due by 9/6/2021. Replies due by 9/10/2021. Status Conference set for
                  9/15/2021 at 4:00 PM via video before Judge Dabney L. Friedrich. Bond Status of
                  Defendant: Remains Committed; Court Reporter: Sara Wick; Defense Attorney:
                  Michael E. Lawlor; US Attorney: Candice Chiu Wong. (zjch) (Entered: 08/17/2021)
08/17/2021        MINUTE ORDER as to ZACHARY JORDAN ALAM. A status conference is set for
                  September 15, 2021 at 4:00 p.m. via videoconference. The government shall file any
                  motion to exclude time under the Speedy Trial Act on or before August 30, 2021; the
                  defendant shall file any opposition on or before September 6, 2021; and the
                  government shall file any reply on or before September 10, 2021. For the reasons
                  stated in the August 17, 2021 hearing, including the ongoing plea negotiations and

                                                                                                        10
  Case 1:21-cr-00190-DLF         Document 141           Filed 12/02/24       Page 11 of 46



                  the need for the defense to review voluminous and forthcoming discovery and to
                  determine how best to defend this case, see 18 U.S.C. § 3161(h)(7)(B)(iv)−−the
                  Court finds that the "ends of justice outweigh the best interest of the public and the
                  defendant in a speedy trial." 18 U.S.C. § 3161(h)(7)(A). Accordingly, pursuant to the
                  Speedy Trial Act and with the consent of the defendant, the time from August 17,
                  2021 through September 15, 2021 shall be excluded in computing the date for a
                  speedy trial in this case. So Ordered by Judge Dabney L. Friedrich on August 17,
                  2021. (lcdlf2) (Entered: 08/17/2021)
08/26/2021   25   NOTICE Memorandum Regarding Status of Discovery by USA as to ZACHARY
                  JORDAN ALAM (Wong, Candice) (Entered: 08/26/2021)
08/30/2021   26   MOTION to Continue Trial and to Exclude Time Under the Speedy Trial Act by USA
                  as to ZACHARY JORDAN ALAM. (Wong, Candice) (Entered: 08/30/2021)
08/30/2021   27   MOTION to Exclude Time Under the Speedy Trial Act by USA as to ZACHARY
                  JORDAN ALAM. (See Docket Entry 26 to View Document). (zhsj) (Entered:
                  08/31/2021)
09/13/2021   28   Consent MOTION to Continue Status Conference Hearing by ZACHARY JORDAN
                  ALAM. (Attachments: # 1 Text of Proposed Order)(Lawlor, Michael) (Entered:
                  09/13/2021)
09/14/2021   29   MOTION Line Consenting to the Exclusion of Time Under the Speedy Trial Act by
                  ZACHARY JORDAN ALAM. (Lawlor, Michael) (Entered: 09/14/2021)
09/14/2021        MINUTE ORDER as to ZACHARY JORDAN ALAM. Upon consideration of the
                  defendant's 28 29 Consent Motion to Continue Hearing and to exclude time until
                  September 27, 2021, it is hereby ORDERED that the motion is GRANTED. The
                  defendant's plea hearing is continued until September 27, 2021; and for the reasons
                  stated in the August 17, 2021 hearing and in the defendant's 28 Consent Motion,
                  including the ongoing plea negotiations and the need for the defense to review
                  voluminous and forthcoming discovery to determine how best to defend this case, see
                  18 U.S.C. § 3161(h)(7)(B)(iv)−−the Court finds that the "ends of justice outweigh the
                  best interest of the public and the defendant in a speedy trial." 18 U.S.C. §
                  3161(h)(7)(A). Accordingly, pursuant to the Speedy Trial Act, and with the consent
                  of the defendant 29 , the time from September 14, 2021, until September 27, 2021,
                  shall be excluded in computing the date for a speedy trial in this case. Also before the
                  Court is the government's 26 Motion to Continue Trial and Exclude Time Under the
                  Speedy Trial Act, to which the defendant has not yet responded. The defendant shall
                  file any response to the motion on or before September 24, 2021. So Ordered by
                  Judge Dabney L. Friedrich on September 14, 2021. (lcdlf2) (Entered: 09/14/2021)
09/14/2021        NOTICE OF HEARING as to ZACHARY JORDAN ALAM. Status Conference set
                  for 9/27/2021 at 11:00 AM via video before Judge Dabney L. Friedrich. (zjch)
                  (Entered: 09/14/2021)
09/14/2021        Set/Reset Deadlines as to ZACHARY JORDAN ALAM: Responses due by
                  9/24/2021 (zjch, ) (Entered: 09/14/2021)
09/15/2021        MINUTE ORDER as to ZACHARY JORDAN ALAM. The Northern Neck facility is
                  unavailable until October 12 at 2:00 p.m. Accordingly, the Court will continue this
                  matter until that date unless either party objects. The parties shall inform the Court on
                  or before September 17, 2021, (1) whether they agree to a videoconference on
                  October 12, 2021 at 2:00 p.m. or object and request an earlier in−person hearing, and


                                                                                                              11
  Case 1:21-cr-00190-DLF         Document 141           Filed 12/02/24       Page 12 of 46



                  (2) whether they agree that the Court shall exclude time under the Speedy Trial Act
                  until October 12, 2021. So Ordered by Judge Dabney L. Friedrich on September 15,
                  2021. (lcdlf2) (Entered: 09/15/2021)
09/15/2021        Set/Reset Hearings as to ZACHARY JORDAN ALAM:Status Conference set for
                  10/12/2021 at 2:00 PM via video before Judge Dabney L. Friedrich. (zjch) (Entered:
                  09/15/2021)
09/15/2021   30   NOTICE Memorandum Regarding Status of Discovery by USA as to ZACHARY
                  JORDAN ALAM (Wong, Candice) (Entered: 09/15/2021)
09/17/2021   31   Joint STATUS REPORT by USA as to ZACHARY JORDAN ALAM (Wong,
                  Candice) (Entered: 09/17/2021)
09/17/2021        MINUTE ORDER as to ZACHARY JORDAN ALAM. Upon consideration of the
                  government's 31 Joint Status Report, the status hearing is continued until October 12,
                  2021; and for the reasons stated in the August 17, 2021 hearing and in the defendant's
                  28 Consent Motion, including the ongoing plea negotiations and the need for the
                  defense to review voluminous and forthcoming discovery to determine how best to
                  defend this case, see 18 U.S.C. § 3161(h)(7)(B)(iv)−−the Court finds that the "ends of
                  justice outweigh the best interest of the public and the defendant in a speedy trial." 18
                  U.S.C. § 3161(h)(7)(A). Accordingly, pursuant to the Speedy Trial Act, and with the
                  consent of the defendant 31 , the time from September 17, 2021, until October 12,
                  2021, shall be excluded in computing the date for a speedy trial in this case. So
                  Ordered by Judge Dabney L. Friedrich on September 17, 2021. (lcdlf2) (Entered:
                  09/17/2021)
09/17/2021        Set/Reset Hearings as to ZACHARY JORDAN ALAM:Status Conference set for
                  10/12/2021 at 2:00 PM via video before Judge Dabney L. Friedrich. (zjch, ) (Entered:
                  09/17/2021)
09/17/2021   32   NOTICE of Discovery by USA as to ZACHARY JORDAN ALAM (Attachments: #
                  1 Exhibit Discovery Letter)(Wong, Candice) (Entered: 09/17/2021)
10/12/2021        MINUTE ORDER. Consistent with the discussion during the status conference held
                  on October 12, 2021, a status conference is set for October 21, 2021 at 3:00 p.m. via
                  videoconference. For the reasons stated during the October 12 hearing−−namely the
                  need for the defense to review voluminous and forthcoming discovery and the need
                  for the defense to determine how best to defend this case, see 18 U.S.C. §
                  3161(h)(7)(B)(iv)−−the Court finds that the "ends of justice outweigh the best interest
                  of the public and the defendant in a speedy trial." 18 U.S.C. § 3161(h)(7)(A).
                  Accordingly, pursuant to the Speedy Trial Act and with the consent of the defendant,
                  the time from October 12, 2021 through October 21, 2021 shall be excluded in
                  computing the date for a speedy trial in this case. So Ordered by Judge Dabney L.
                  Friedrich on October 12, 2021. (lcdlf2) (Entered: 10/12/2021)
10/12/2021        Minute Entry for Status Conference as to ZACHARY JORDAN ALAM held on
                  10/12/2021 before Judge Dabney L. Friedrich. Speedy Trial Excludable (XT) started
                  10/12/2021 through 10/21/2021 in the interest of justice. Status Conference set for
                  10/21/2021 at 3:00 PM via video before Judge Dabney L. Friedrich. Bond Status of
                  Defendant: Remains Committed. Defendant was not present in the hearing; Court
                  Reporter: Sara Wick; Defense Attorney: Michael E. Lawlor; US Attorney: Candice
                  Chiu Wong. (zjch, ) (Entered: 10/12/2021)
10/20/2021


                                                                                                              12
  Case 1:21-cr-00190-DLF         Document 141          Filed 12/02/24       Page 13 of 46



                  Minute Entry for Status Conference as to ZACHARY JORDAN ALAM held on
                  10/20/2021 before Judge Dabney L. Friedrich. Speedy Trial Excludable (XT) started
                  10/20/2021 through 11/30/2021 in the interest of justice as to ZACHARY JORDAN
                  ALAM, Bond Status of Defendant: Remains Committed − presence waived; Court
                  Reporter: Sara Wick; Defense Attorney: Michael E. Lawlor; US Attorney: Candice
                  Chiu Wong; (zjch, ) (Entered: 10/20/2021)
10/20/2021        MINUTE ORDER. For the reasons stated during the October 20, 2021 status
                  hearing−−including the need for the defense to review voluminous and forthcoming
                  discovery and the need for the defense to determine how best to defend this case, see
                  18 U.S.C. § 3161(h)(7)(B)(iv)−−the Court finds that the "ends of justice outweigh the
                  best interest of the public and the defendant in a speedy trial." 18 U.S.C. §
                  3161(h)(7)(A). Accordingly, pursuant to the Speedy Trial Act and with the consent of
                  the defense, the time from October 20, 2021 through November 30, 2021 shall be
                  excluded in computing the date for a speedy trial in this case. So Ordered by Judge
                  Dabney L. Friedrich on October 20, 2021. (lcdlf2) (Entered: 10/20/2021)
10/21/2021   33   NOTICE Memorandum Regarding Status of Discovery by USA as to ZACHARY
                  JORDAN ALAM (Wong, Candice) (Entered: 10/21/2021)
10/22/2021        NOTICE OF HEARING as to ZACHARY JORDAN ALAM. Status Conference set
                  for 10/27/2021 at 3:00 PM via video before Judge Dabney L. Friedrich. (zjch, )
                  (Entered: 10/22/2021)
10/25/2021   34   NOTICE of Discovery by USA as to ZACHARY JORDAN ALAM (Attachments: #
                  1 Exhibit Discovery Letter)(Wong, Candice) (Entered: 10/25/2021)
10/27/2021        MINUTE ORDER. Consistent with the discussion during the status conference held
                  on October 27, 2021, a status conference is set for December 22, 2021 at 2:00 p.m.
                  via videoconference. For the reasons stated during the October 27 status
                  hearing−−namely the need for the defense to review voluminous and forthcoming
                  discovery and the need for the defense to determine how best to defend this case, see
                  18 U.S.C. § 3161(h)(7)(B)(iv)−−the Court finds that the "ends of justice outweigh the
                  best interest of the public and the defendant in a speedy trial." 18 U.S.C. §
                  3161(h)(7)(A). Accordingly, pursuant to the Speedy Trial Act and with the consent of
                  the defendant, the government's 26 Motion to Continue and to Exclude Time is
                  granted, and the time from October 27, 2021 through December 22, 2021 shall be
                  excluded in computing the date for a speedy trial in this case. So Ordered by Judge
                  Dabney L. Friedrich on October 27, 2021. (lcdlf2) (Entered: 10/27/2021)
10/27/2021        Minute Entry for Status Conference as to ZACHARY JORDAN ALAM held on
                  10/27/2021 before Judge Dabney L. Friedrich. Speedy Trial Excludable (XT) started
                  10/27/2021 through 12/22/2021 in the interest of justice. Status Conference set for
                  12/22/2021 at 2:00 PM via video before Judge Dabney L. Friedrich. Bond Status of
                  Defendant: Remains Committed; Court Reporter: Sara Wick; Defense Attorney:
                  Michael E. Lawlor; US Attorney: Candice Chiu Wong. (zjch, ) (Entered: 10/27/2021)
11/05/2021   35   NOTICE Memorandum Regarding Status of Discovery by USA as to ZACHARY
                  JORDAN ALAM (Wong, Candice) (Entered: 11/05/2021)
11/10/2021   36   FIRST SUPERSEDING INDICTMENT as to ZACHARY JORDAN ALAM (1)
                  count(s) 1s, 2s, 3s, 4s, 5s, 6s, 7s, 8s, 9s, 10s, 11s. (bb) (Entered: 11/16/2021)
11/30/2021        NOTICE OF HEARING as to ZACHARY JORDAN ALAM. Arraignment set for
                  12/1/2021 at 2:00 PM via video before Judge Dabney L. Friedrich. (zjch, ) (Entered:


                                                                                                          13
  Case 1:21-cr-00190-DLF         Document 141          Filed 12/02/24       Page 14 of 46



                  11/30/2021)
12/01/2021   38   Consent MOTION to Continue Status Conference Hearing by ZACHARY JORDAN
                  ALAM. (Attachments: # 1 Text of Proposed Order)(Lawlor, Michael) (Entered:
                  12/01/2021)
12/01/2021        MINUTE ORDER. Upon consideration of the defendant's 38 Motion to Continue
                  Status Conference, it is ORDERED that the motion is GRANTED. A status
                  conference is set for December 9, 2021 at 2:00 p.m. via videoconference. So Ordered
                  by Judge Dabney L. Friedrich on December 1, 2021. (lcdlf2) (Entered: 12/01/2021)
12/01/2021        Set/Reset Hearings as to ZACHARY JORDAN ALAM: Arraignment set for
                  12/9/2021 at 2:00 PM via video before Judge Dabney L. Friedrich. (zjch, ) (Entered:
                  12/01/2021)
12/03/2021        NOTICE OF HEARING as to ZACHARY JORDAN ALAM. Arraignment set for
                  12/6/2021 at 3:30 PM via video before Judge Dabney L. Friedrich. (zjch, ) (Entered:
                  12/03/2021)
12/06/2021        Minute Entry for Arraignment as to ZACHARY JORDAN ALAM on Counts
                  1s,2s,3s,4s,5s,6s,7s,8s,9s,10s,11s held on 12/6/2021 before Judge Dabney L.
                  Friedrich. Not Guilty Plea entered as to ZACHARY JORDAN ALAM on counts 1s,
                  2s, 3s, 4s, 5s, 6s, 7s, 8s, 9s, 10s, 11s. Bond Status of Defendant: Remains Committed;
                  Court Reporter: Sara Wick; Defense Attorney: Michael E. Lawlor; US Attorney:
                  Candice Chiu Wong. (zjch, ) (Entered: 12/06/2021)
12/17/2021        NOTICE OF HEARING as to ZACHARY JORDAN ALAM. Status Conference set
                  for 12/22/2021 at 2:00 PM via video before Judge Dabney L. Friedrich. (zjch, )
                  (Entered: 12/17/2021)
12/21/2021   39   NOTICE OF DISCOVERY by USA as to ZACHARY JORDAN ALAM
                  (Attachments: # 1 Exhibit)(Wong, Candice) (Entered: 12/21/2021)
12/22/2021        Minute Entry for Status Conference as to ZACHARY JORDAN ALAM held on
                  12/22/2021 before Judge Dabney L. Friedrich. Speedy Trial Excludable (XT) started
                  12/22/2021 through 2/3/2022 in the interest of justice. Status Conference set for
                  2/23/2022 at 2:00 PM via video before Judge Dabney L. Friedrich. Bond Status of
                  Defendant: Remains Committed; Court Reporter: Sara Wick; Defense Attorney:
                  Michael E. Lawlor; US Attorney: Candice Chiu Wong. (zjch, ) (Entered: 12/22/2021)
12/22/2021        MINUTE ORDER. Consistent with the discussion during the December 22, 2021
                  status conference, a status hearing is set for February 23, 2022 at 2:00 p.m. via
                  videoconference. For the reasons stated during the December 22 hearing−−namely,
                  the ongoing plea negotiations and the need for the defense to review voluminous and
                  forthcoming discovery and to determine how best to defend this case, see 18 U.S.C. §
                  3161(h)(7)(B)(iv)−−the Court finds that the "ends of justice outweigh the best interest
                  of the public and the defendant in a speedy trial." 18 U.S.C. § 3161(h)(7)(A).
                  Accordingly, pursuant to the Speedy Trial Act and with the consent of the defendant,
                  the time from December 22, 2021 through February 23, 2022 shall be excluded in
                  computing the date for a speedy trial in this case. So Ordered by Judge Dabney L.
                  Friedrich on December 22, 2021. (lcdlf2) (Entered: 12/22/2021)
02/10/2022   40   NOTICE Memorandum Regarding Status of Discovery by USA as to ZACHARY
                  JORDAN ALAM (Wong, Candice) (Entered: 02/10/2022)
02/23/2022

                                                                                                            14
  Case 1:21-cr-00190-DLF         Document 141          Filed 12/02/24        Page 15 of 46



                  Minute Entry for Status Conference as to ZACHARY JORDAN ALAM held on
                  2/23/2022 before Judge Dabney L. Friedrich. Speedy Trial Excludable (XT) started
                  2/23/2022 through 3/30/2022 in the interest of justice as to ZACHARY JORDAN
                  ALAM. Status Conference set for 3/30/2022 at 2:00 PM via video before Judge
                  Dabney L. Friedrich. Bond Status of Defendant: Remains Committed; Court
                  Reporter: Sara Wick; Defense Attorney: Michael E. Lawlor; US Attorney: Candice
                  Chiu Wong. (zjch, ) (Entered: 02/23/2022)
02/23/2022        MINUTE ORDER. Consistent with the discussion during the February 23, 2022
                  status conference, a status hearing is set for March 30, 2022 at 2:00 p.m. via
                  videoconference. For the reasons stated during the February 23 hearing−−namely, the
                  need for the defense to review voluminous and forthcoming discovery and to
                  determine how best to defend this case, see 18 U.S.C. § 3161(h)(7)(B)(iv)−−the
                  Court finds that the "ends of justice outweigh the best interest of the public and the
                  defendant in a speedy trial." 18 U.S.C. § 3161(h)(7)(A). Accordingly, pursuant to the
                  Speedy Trial Act and with the consent of the defendant, the time from February 23,
                  2022 through March 30, 2022 shall be excluded in computing the date for a speedy
                  trial in this case. So Ordered by Judge Dabney L. Friedrich on February 23, 2022.
                  (lcdlf2) (Entered: 02/23/2022)
03/29/2022        NOTICE OF HEARING as to ZACHARY JORDAN ALAM. Status Conference set
                  for 3/30/2022 at 3:00 PM via video before Judge Dabney L. Friedrich. (zjch, )
                  (Entered: 03/29/2022)
03/29/2022   41   NOTICE OF ATTORNEY APPEARANCE Cindy Jane Cho appearing for USA.
                  (Cho, Cindy) (Entered: 03/29/2022)
03/30/2022        Minute Entry for Status Conference as to ZACHARY JORDAN ALAM held on
                  3/30/2022 before Judge Dabney L. Friedrich. Speedy Trial Excludable (XT) started
                  3/30/2022 through 5/17/2022 in the interest of justice as to ZACHARY JORDAN
                  ALAM. Status Conference set for 5/17/2022 at 2:00 PM via video before Judge
                  Dabney L. Friedrich. Bond Status of Defendant: Remains Committed; Court
                  Reporter: Sara Wick; Defense Attorney: Nicholas Madiou; US Attorney: Candice
                  Chiu Wong. (zjch, ) (Entered: 03/30/2022)
03/30/2022        MINUTE ORDER. Consistent with the discussion during the March 30, 2022 status
                  conference, a status hearing is set for May 17, 2022 at 2:00 p.m. For the reasons
                  stated during the March 30 hearing−−namely, the need for the defense to review
                  voluminous and forthcoming discovery and to determine how best to defend this
                  case, see 18 U.S.C. § 3161(h)(7)(B)(iv)−−the Court finds that the "ends of justice
                  outweigh the best interest of the public and the defendant in a speedy trial." 18 U.S.C.
                  § 3161(h)(7)(A). Accordingly, pursuant to the Speedy Trial Act and with the consent
                  of the defendant, the time from March 30, 2022 through May 17, 2022 shall be
                  excluded in computing the date for a speedy trial in this case. So Ordered by Judge
                  Dabney L. Friedrich on March 30, 2022. (lcdlf2) (Entered: 03/30/2022)
04/03/2022   42   NOTICE of Discovery by USA as to ZACHARY JORDAN ALAM (Attachments: #
                  1 Exhibit Discovery Letter)(Wong, Candice) (Entered: 04/03/2022)
04/05/2022   43   NOTICE OF WITHDRAWAL OF APPEARANCE by USA as to ZACHARY
                  JORDAN ALAM (Wong, Candice) (Entered: 04/05/2022)
05/17/2022   44   Consent MOTION to Continue and Exclusion of Time from Calculation Under the
                  Speedy Trial Act by ZACHARY JORDAN ALAM. (Attachments: # 1 Text of
                  Proposed Order)(Lawlor, Michael) (Entered: 05/17/2022)

                                                                                                             15
  Case 1:21-cr-00190-DLF         Document 141          Filed 12/02/24        Page 16 of 46



05/17/2022   45   MOTION for Exclusion of Time From the Calculation Under the Speedy Trial Act
                  by ZACHARY JORDAN ALAM. (See Docket Entry 44 to View Document). (zhsj)
                  (Entered: 05/17/2022)
05/17/2022        MINUTE ORDER as to ZACHARY JORDAN ALAM. Status hearing continued at
                  the request of the defendant. Counsel to contact the Courtroom Deputy to determine a
                  new date. So Ordered by Judge Dabney L. Friedrich on 5/17/2022. (zjch, ) (Entered:
                  05/17/2022)
05/17/2022        MINUTE ORDER granting the defendant's 44 Consent Motion for Continuance and
                  Exclusion of Time from Calculation Under the Speedy Trial Act. The status
                  conference set for May 17, 2022 is continued until June 27, 2022 at 3:00 p.m. For the
                  reasons stated during the March 30, 2022 status conference and in the defendant's 44
                  Consent Motion−−namely, the need for the defense to review voluminous and
                  forthcoming discovery and to determine how best to defend this case, see 18 U.S.C. §
                  3161(h)(7)(B)(iv)−−the Court finds that the "ends of justice outweigh the best interest
                  of the public and the defendant in a speedy trial." 18 U.S.C. § 3161(h)(7)(A).
                  Accordingly, pursuant to the Speedy Trial Act and with the consent of the defendant,
                  the time from May 17, 2022 through June 27, 2022 shall be excluded in computing
                  the date for a speedy trial in this case. So Ordered by Judge Dabney L. Friedrich on
                  May 17, 2022. (lcdlf2) (Entered: 05/17/2022)
06/27/2022        MINUTE ORDER. Consistent with the discussion at the June 27, 2022 status
                  hearing, it is ORDERED that the following schedule shall govern further
                  proceedings: the defense shall file all pretrial motions on or before July 13, 2022; the
                  government shall respond on or before July 25, 2022; and the defense shall reply on
                  or before July 28, 2022. A motions hearing is set for August 1, 2022 at 2:00 p.m., and
                  a pretrial conference is set for August 24, 2022 at 10:00 a.m., both in Courtroom 14.
                  Trial is set to begin on August 29, 2022 at 9:30 a.m. in Courtroom 14. So Ordered by
                  Judge Dabney L. Friedrich on June 27, 2022. (lcdlf2) (Entered: 06/27/2022)
06/27/2022        Minute Entry for Status Conference as to ZACHARY JORDAN ALAM held on
                  6/27/2022 before Judge Dabney L. Friedrich: Motions due by 7/13/2022. Responses
                  due by 7/25/2022. Replies due by 7/28/2022. Motion Hearing set for 8/1/2022 at 2:00
                  PM in Courtroom 14− In Person before Judge Dabney L. Friedrich. Pretrial
                  Conference set for 8/24/2022 at 10:00 AM in Courtroom 14− In Person before Judge
                  Dabney L. Friedrich. Jury Trial set for 8/29/2022 at 09:30 AM in Courtroom 14− In
                  Person before Judge Dabney L. Friedrich. Bond Status of Defendant: Remains
                  Committed; Court Reporter: Sara Wick; Defense Attorney: Michael Lawlor; US
                  Attorney: Cindy Cho. (zjch, ) (Entered: 06/27/2022)
06/28/2022   46   PRETRIAL ORDER. See text for details. Signed by Judge Dabney L. Friedrich on
                  June 28, 2022. (lcdlf2) (Entered: 06/28/2022)
07/13/2022   47   MOTION to Dismiss Count Three, Five, Six, Seven & Eight of the First Superseding
                  Indictment by ZACHARY JORDAN ALAM. (Lawlor, Michael) (Entered:
                  07/13/2022)
07/23/2022   48   NOTICE OF ATTORNEY APPEARANCE Melanie Alsworth appearing for USA.
                  (Alsworth, Melanie) (Entered: 07/23/2022)
07/24/2022   49   Memorandum in Opposition by USA as to ZACHARY JORDAN ALAM re 47
                  MOTION to Dismiss Count Three, Five, Six, Seven & Eight of the First Superseding
                  Indictment (Cho, Cindy) (Entered: 07/24/2022)


                                                                                                             16
  Case 1:21-cr-00190-DLF         Document 141          Filed 12/02/24       Page 17 of 46



07/28/2022   50   REPLY by ZACHARY JORDAN ALAM Reply to the United States' Response to
                  Defendant's Motion to Dismiss Counts (Lawlor, Michael) (Entered: 07/28/2022)
08/01/2022        NOTICE as to ZACHARY JORDAN ALAM. The hearing scheduled for 8/1/2022 @
                  2:00 PM may be postponed to a later time or a later date. As the hearing will be
                  in−person, the public phone line will not be connected. (zjch, ) (Entered: 08/01/2022)
08/05/2022        NOTICE OF HEARING as to ZACHARY JORDAN ALAM. Motion Hearing set for
                  8/12/2022 at 2:00 PM via video before Judge Dabney L. Friedrich. (zjch, ) (Entered:
                  08/05/2022)
08/12/2022        Minute Entry for Status Conference (originally set as a motions hearing) as to
                  ZACHARY JORDAN ALAM held on 8/12/2022 before Judge Dabney L. Friedrich.
                  Motion Hearing set for 8/25/2022 at 10:00 AM in Courtroom 14− In Person before
                  Judge Dabney L. Friedrich. Bond Status of Defendant: Remains Committed; Court
                  Reporter: Jan Dickman; Defense Attorney: Michael Lawlor; US Attorney: Cindy
                  Cho. (zjch, ) (Entered: 08/12/2022)
08/12/2022        MINUTE ORDER. Consistent with the discussion at the August 12, 2022 hearing,
                  the defendant's 47 Motion to Dismiss Counts Three, Five, Six, Seven, and Eight of
                  the First Superseding Indictment is DENIED. The Court will provide the reasons for
                  its decision from the bench at the in−person pre−trial conference on August 24, 2022.
                  A second pre−trial conference is set for August 25, 2022 at 10:00 a.m. in Courtroom
                  14. So Ordered by Judge Dabney L. Friedrich on August 12, 2022. (lcdlf2) (Entered:
                  08/12/2022)
08/15/2022   51   NOTICE of Filing Statement of Case, Jury Instructions, Verdict Form by USA as to
                  ZACHARY JORDAN ALAM (Attachments: # 1 Exhibit 1 − Statement of Case, # 2
                  Exhibit 2 − Jury Instructions, # 3 Exhibit 3 − Verdict Form)(Cho, Cindy) (Entered:
                  08/15/2022)
08/17/2022        NOTICE OF HEARING as to ZACHARY JORDAN ALAM. Status Conference set
                  for 8/18/2022 at 2:00 PM via video before Judge Dabney L. Friedrich. (zjch, )
                  (Entered: 08/17/2022)
08/18/2022        NOTICE OF HEARING as to ZACHARY JORDAN ALAM. Pretrial Conference set
                  for 8/24/2022 at 10:00 AM in Courtroom 14− In Person before Judge Dabney L.
                  Friedrich. (zjch, ) (Entered: 08/18/2022)
08/18/2022        Minute Entry for Status Conference as to ZACHARY JORDAN ALAM held on
                  8/18/2022 before Judge Dabney L. Friedrich. Speedy Trial Excludable (XT) started
                  8/18/2022 through 9/2/2022 in the interest of justice as to ZACHARY JORDAN
                  ALAM. Mr. Alam informed the Court of his desire to retain counsel. Trial and
                  Pre−trial dates are vacated. Status Conference set for 9/2/2022 at 10:00 AM in
                  Courtroom 14− In Person before Judge Dabney L. Friedrich. Michael Lawlor is
                  allowed to appear via video. Bond Status of Defendant: Remains Committed; Court
                  Reporter: Jeff Hook; Defense Attorney: Michael Lawlor; US Attorney: Cindy Cho
                  and Melanie Alsworth with Rosemaria Marketos. (zjch, ) (Entered: 08/18/2022)
08/18/2022        MINUTE ORDER. Consistent with the discussion at the August 18, 2022 hearing,
                  the August 29, 2022 trial and the deadlines in the 46 Pretrial Order are VACATED.
                  A status hearing is set for September 2, 2022 at 10:00 a.m. in Courtroom 14. At that
                  time, the defendant should appear with his new counsel. If the defense seeks to
                  change the status hearing to a videoconference hearing, counsel shall contact the
                  Courtroom Deputy to reschedule the date and time for the hearing. For the reasons


                                                                                                           17
  Case 1:21-cr-00190-DLF      Document 141          Filed 12/02/24        Page 18 of 46



               stated during the August 18 hearing−−namely to give the defendant time to retain
               new counsel and the need for the defense to review voluminous discovery and to
               determine how best to defend this case, see 18 U.S.C. § 3161(h)(7)(B)(iv)−−the
               Court finds that the "ends of justice outweigh the best interest of the public and the
               defendant in a speedy trial." 18 U.S.C. § 3161(h)(7)(A). Accordingly, pursuant to the
               Speedy Trial Act and with the consent of the defendant, the time from August 18,
               2022 through September 2, 2022 shall be excluded in computing the date for a
               speedy trial in this case. So Ordered by Judge Dabney L. Friedrich on August 18,
               2022. (lcdlf2) (Entered: 08/18/2022)
09/02/2022     Minute Entry for Status Conference as to ZACHARY JORDAN ALAM held on
               9/2/2022 before Judge Dabney L. Friedrich. Defendant requests an additional 30 days
               to secure counsel. Speedy Trial Excludable (XT) started 9/2/2022 through 10/7/2022
               in the interest of justice as to ZACHARY JORDAN ALAM. Status Conference set
               for 10/7/2022 at 9:00 AM in Courtroom 14− In Person before Judge Dabney L.
               Friedrich. Bond Status of Defendant: Remains Committed; Court Reporter: Sara
               Wick; Defense Attorney: Michael Lawlor; US Attorney: Cindy Cho and Melanie
               Alsworth. (zjch, ) (Entered: 09/02/2022)
09/02/2022     MINUTE ORDER. Consistent with the discussion during the status conference held
               on September 2, 2022, a status conference is set for October 7, 2022 at 9:00 a.m. in
               Courtroom 14. For the reasons stated during the September 2 status hearing−−namely
               the need for the defendant to retain new counsel and for the defense review
               voluminous discovery and to determine how best to defend this case, see 18 U.S.C. §
               3161(h)(7)(B)(iv)−−the Court finds that the "ends of justice outweigh the best interest
               of the public and the defendant in a speedy trial." 18 U.S.C. § 3161(h)(7)(A).
               Accordingly, pursuant to the Speedy Trial Act and with the consent of the defendant,
               the time from September 2, 2022, through October 7, 2022 shall be excluded in
               computing the date for a speedy trial in this case. So Ordered by Judge Dabney L.
               Friedrich on September 2, 2022. (lcdlf2) (Entered: 09/02/2022)
09/27/2022     NOTICE OF HEARING as to ZACHARY JORDAN ALAM. Status Conference set
               for 10/5/2022 at 9:00 AM in Courtroom 14− In Person before Judge Dabney L.
               Friedrich. (zjch, ) (Entered: 09/27/2022)
10/05/2022     Minute Entry for Status Conference as to ZACHARY JORDAN ALAM held on
               10/5/2022 before Judge Dabney L. Friedrich. Court giving defendant until
               10/21/2022 to retain counsel. Speedy Trial Excludable (XT) started 10/5/2022
               through 10/21/2022 in the interest of justice as to ZACHARY JORDAN ALAM.
               Status Conference set for 10/21/2022 at 9:00 AM in Courtroom 14− In Person before
               Judge Dabney L. Friedrich. Bond Status of Defendant: Remains Committed; Court
               Reporter: Lisa Bankin; Defense Attorney: Michael Lawlor; US Attorney: Cindy Cho
               and Melanie Alsworth. (zjch, ) (Entered: 10/05/2022)
10/05/2022     MINUTE ORDER. Consistent with the discussion during today's hearing, a status
               conference is set for October 21, 2022 at 9:00 a.m. in Courtroom 14. For the reasons
               stated during the today's hearing−−namely the need for the defendant to retain new
               counsel and for the defense to determine how best to defend this case, see 18 U.S.C.
               § 3161(h)(7)(B)(iv)−−the Court finds that the "ends of justice outweigh the best
               interest of the public and the defendant in a speedy trial." 18 U.S.C. § 3161(h)(7)(A).
               Accordingly, pursuant to the Speedy Trial Act, the time from October 5, 2022,
               through October 21, 2022 shall be excluded in computing the date for a speedy trial
               in this case. So Ordered by Judge Dabney L. Friedrich on October 5, 2022. (lcdlf1)


                                                                                                         18
  Case 1:21-cr-00190-DLF         Document 141          Filed 12/02/24       Page 19 of 46



                  (Entered: 10/05/2022)
10/20/2022        NOTICE OF HEARING as to ZACHARY JORDAN ALAM. Status Conference set
                  for 10/21/2022 at 1:30 PM in Courtroom 14− In Person before Judge Dabney L.
                  Friedrich. (zjch, ) (Entered: 10/20/2022)
10/21/2022        Minute Entry for Status Conference as to ZACHARY JORDAN ALAM held on
                  10/21/2022 before Judge Dabney L. Friedrich:Speedy Trial Excludable (XT) started
                  10/21/2022 through 11/9/2022 in the interest of justice as to ZACHARY JORDAN
                  ALAM. Status Conference set for 11/9/2022 at 9:30 AM in Courtroom 14− In Person
                  before Judge Dabney L. Friedrich. Bond Status of Defendant: Remains Committed;
                  Court Reporter: Lisa Moreira; Defense Attorney: Michael Lawlor; US Attorney:
                  Cindy Cho. (zjch, ) (Entered: 10/21/2022)
10/21/2022        MINUTE ORDER. Consistent with the discussion during today's hearing, a status
                  conference is set for November 9, 2022 at 9:30 a.m. in Courtroom 14. For the reasons
                  stated during the today's hearing−−namely the need for the defendant to retain new
                  counsel and for the defense to determine how best to defend this case, see 18 U.S.C.
                  § 3161(h)(7)(B)(iv)−−the Court finds that the "ends of justice outweigh the best
                  interest of the public and the defendant in a speedy trial." 18 U.S.C. § 3161(h)(7)(A).
                  Accordingly, pursuant to the Speedy Trial Act and with the consent of the defendant,
                  the time from October 21, 2022, through November 9, 2022 shall be excluded in
                  computing the date for a speedy trial in this case. So Ordered by Judge Dabney L.
                  Friedrich on October 21, 2022. (lcdlf1) (Entered: 10/21/2022)
11/09/2022        Minute Entry for Status Conference as to ZACHARY JORDAN ALAM held on
                  11/9/2022 before Judge Dabney L. Friedrich. Speedy Trial Excludable (XT) started
                  11/9/2022 through 12/1/2022 in the interest of justice as to ZACHARY JORDAN
                  ALAM. Status Conference set for 12/1/2022 at 9:00 AM in Courtroom 14− In Person
                  before Judge Dabney L. Friedrich. Bond Status of Defendant: Remains Committed;
                  Court Reporter: Lorraine Herman; Defense Attorney: Michael Lawlor; US Attorney:
                  Melanie Alsworth. (zjch, ) (Entered: 11/09/2022)
11/09/2022        MINUTE ORDER. Consistent with the discussion during today's hearing, a status
                  conference is set for December 1, 2022 at 9:00am in Courtroom 14. For the reasons
                  stated during the hearing−−namely the need for the defendant to retain new counsel
                  and for the defense to determine how best to defend this case, see 18 U.S.C. §
                  3161(h)(7)(B)(iv)−−the Court finds that the "ends of justice outweigh the best interest
                  of the public and the defendant in a speedy trial." 18 U.S.C. § 3161(h)(7)(A).
                  Accordingly, pursuant to the Speedy Trial Act and with the consent of the defendant,
                  the time from November 9, 2022, through December 1, 2022 shall be excluded in
                  computing the date for a speedy trial in this case. So Ordered by Judge Dabney L.
                  Friedrich on November 9, 2022. (lcdlf1) (Entered: 11/09/2022)
11/16/2022   52   NOTICE OF ATTORNEY APPEARANCE: Jerry Ray Smith, Jr appearing for
                  ZACHARY JORDAN ALAM (Smith, Jerry) (Entered: 11/16/2022)
11/17/2022   53   MOTION to Withdraw as Attorney by Michael E. Lawlor and Nicholas G. Madiou.
                  by ZACHARY JORDAN ALAM. (Attachments: # 1 Text of Proposed
                  Order)(Lawlor, Michael) (Entered: 11/17/2022)
11/17/2022        MINUTE ORDER granting the defendant's 53 Motion to Withdraw as Attorney. The
                  Clerk of Court shall withdraw Mr. Lawlor and Mr. Madiou as counsel to the
                  defendant. So Ordered by Judge Dabney L. Friedrich on November 17, 2022. (lcdlf1)
                  (Entered: 11/17/2022)

                                                                                                            19
  Case 1:21-cr-00190-DLF      Document 141          Filed 12/02/24       Page 20 of 46



12/01/2022     Minute Entry for Status Conference held on 12/1/2022 before Judge Dabney L.
               Friedrich as to ZACHARY JORDAN ALAM: A further Status Conference set for
               1/4/2023 at 9:30 AM in Courtroom 14 (In−Person) before Judge Dabney L. Friedrich.
               Speedy Trial Excludable (XT) started 12/1/2022 until 1/4/2023, in the Interest of
               Justice. Bond Status of Defendant: Committed/Commitment Issued; US Attorney:
               Melanie Alsworth (by video); Defense Attorney: Jerry Ray Smith Jr.; Court Reporter:
               Sara Wick. (smc) (Entered: 12/01/2022)
12/01/2022     MINUTE ORDER. Consistent with the discussion during today's hearing, a status
               conference is set for January 4, 2023 at 9:30am in Courtroom 14. For the reasons
               stated during the hearing−−namely the need for the defense to review voluminous
               discovery and determine how best to defend this case, see 18 U.S.C. §
               3161(h)(7)(B)(iv)−−the Court finds that the "ends of justice outweigh the best interest
               of the public and the defendant in a speedy trial." 18 U.S.C. § 3161(h)(7)(A).
               Accordingly, pursuant to the Speedy Trial Act and with the consent of the defendant,
               the time from December 1, 2022, through January 4, 2023 shall be excluded in
               computing the date for a speedy trial in this case. So Ordered by Judge Dabney L.
               Friedrich on December 1, 2022. (lcdlf1) (Entered: 12/01/2022)
01/04/2023     Minute Entry for Status Conference as to ZACHARY JORDAN ALAM held on
               1/4/2023 before Judge Dabney L. Friedrich. Speedy Trial Excludable (XT) started
               1/4/2023 through 1/26/2023 in the interest of justice as to ZACHARY JORDAN
               ALAM. Status Conference set for 1/26/2023 at 2:00 PM in Courtroom 14− In Person
               before Judge Dabney L. Friedrich. Bond Status of Defendant: Remains Committed;
               Court Reporter: Sara Wick; Defense Attorney: Jerry Smith. Jr.; US Attorney:
               Melanie Alsworth. (zjch) (Entered: 01/04/2023)
01/04/2023     MINUTE ORDER. Consistent with the discussion during today's hearing, a status
               conference is set for January 26, 2023 at 2:00pm in Courtroom 14. For the reasons
               stated during the hearing−−namely the need for the defendants new counsel to review
               voluminous discovery and determine how best to defend this case, see 18 U.S.C. §
               3161(h)(7)(B)(iv)−−the Court finds that the "ends of justice outweigh the best interest
               of the public and the defendant in a speedy trial." 18 U.S.C. § 3161(h)(7)(A).
               Accordingly, pursuant to the Speedy Trial Act and with the consent of the defendant,
               the time from January 4, 2023 through January 26, 2023 shall be excluded in
               computing the date for a speedy trial in this case. So Ordered by Judge Dabney L.
               Friedrich on January 4, 2023. (lcdlf1) (Entered: 01/04/2023)
01/24/2023     NOTICE OF HEARING as to ZACHARY JORDAN ALAM. Status Conference set
               for 1/26/2023 at 2:00 PM via video before Judge Dabney L. Friedrich. (zjch, )
               (Entered: 01/24/2023)
01/26/2023     Minute Entry for Status Conference as to ZACHARY JORDAN ALAM held on
               1/26/2023 before Judge Dabney L. Friedrich. Speedy Trial Excludable (XT) started
               1/26/2023 through 5/31/2023 in the interest of justice as to ZACHARY JORDAN
               ALAM. Motions due by 4/28/2023. Responses due by 5/12/2023. Replies due by
               5/19/2023. Jury Trial set for 7/31/2023 at 9:00 AM in Courtroom 14− In Person
               before Judge Dabney L. Friedrich. Motion Hearing set for 5/31/2023 at 10:00 AM in
               Courtroom 14− In Person before Judge Dabney L. Friedrich. Pretrial Conference set
               for 7/10/2023 at 2:00 PM in Courtroom 14− In Person before Judge Dabney L.
               Friedrich. Bond Status of Defendant: Remains Committed; Court Reporter: Christine
               Asif; Defense Attorney: Jerry Smith. Jr.; US Attorney: Melanie Alsworth. (zjch, )
               (Entered: 01/26/2023)


                                                                                                         20
  Case 1:21-cr-00190-DLF         Document 141          Filed 12/02/24        Page 21 of 46



01/26/2023        MINUTE ORDER. Consistent with the discussion during today's hearing, a motions
                  hearing is scheduled for 10:00am on May 31, 2023 in Courtroom 14, a pretrial
                  conference is set for 2:00pm on July 10, 2023 in Courtroom 14, and the trial is set for
                  9:00am on July 31, 2023 in Courtroom 14. The defendant shall file any motions on or
                  before April 28, 2023; the government shall file any responses on or before May 12,
                  2023; and the defendant shall file any replies on or before May 19, 2023. In addition,
                  for the reasons discussed during the hearing−−namely, the need for the defense to
                  review discovery and determine how to best defend this case, see 18 U.S.C. §
                  3161(h)(7)(B)(iv)−−the Court finds that the "ends of justice outweigh the best interest
                  of the public and the defendant in a speedy trial." 18 U.S.C. § 3161(h)(7)(A).
                  Accordingly, pursuant to the Speedy Trial Act, and with the consent of the defendant,
                  the time from January 26, 2023 through May 31, 2023 shall be excluded in
                  computing the date for a speedy trial in this case. So Ordered by Judge Dabney L.
                  Friedrich on January 26, 2023. (lcdlf1) (Entered: 01/26/2023)
04/13/2023   54   NOTICE OF SUBSTITUTION OF COUNSEL as to USA. Attorney Lederer,
                  Rebekah added. (Lederer, Rebekah) (Entered: 04/13/2023)
04/25/2023   55   NOTICE OF ATTORNEY APPEARANCE Joseph S. Smith appearing for USA.
                  (Smith, Joseph) (Entered: 04/25/2023)
04/27/2023   56   MOTION to Suppress Contents of Two Notebooks Found in Motel Room by
                  ZACHARY JORDAN ALAM. (Smith, Jerry) (Entered: 04/27/2023)
04/28/2023   57   MOTION Address Multiplicity re 36 Indictment by ZACHARY JORDAN ALAM.
                  (Smith, Jerry) (Entered: 04/28/2023)
04/28/2023   58   MOTION in Limine Omnibus Motion in Limine by USA as to ZACHARY JORDAN
                  ALAM. (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Exhibit, # 4 Exhibit, # 5 Exhibit,
                  # 6 Exhibit)(Lederer, Rebekah) (Entered: 04/28/2023)
04/28/2023   59   MOTION for Special Unanimity Instruction by ZACHARY JORDAN ALAM.
                  (Smith, Jerry) (Entered: 04/28/2023)
04/28/2023   60   MOTION for Bill of Particulars by ZACHARY JORDAN ALAM. (Smith, Jerry)
                  (Entered: 04/28/2023)
05/07/2023   61   Unopposed MOTION to Continue Motions Hearing by ZACHARY JORDAN
                  ALAM. (Smith, Jerry) (Entered: 05/07/2023)
05/10/2023        MINUTE ORDER as to ZACHARY JODRAN ALAM (1). The defendant's 61
                  Unopposed Motion to Continue Motions Hearing is GRANTED. Accordingly, the
                  motions hearing set for May 31, 2023 is CONTINUED until June 27, 2023 at
                  11:00am in Courtroom 14. In addition, for the reasons stated in the defendant's 61
                  Motion−−namely, the need for the defense counsel to meet with the defendant and
                  prepare for the hearing, see 18 U.S.C. § 3161(h)(7)(B)(iv)−−the Court finds that the
                  "ends of justice outweigh the best interest of the public and the defendant in a speedy
                  trial." 18 U.S.C. § 3161(h)(7)(A). Accordingly, pursuant to the Speedy Trial Act, the
                  time from May 31, 2023 through June 27, 2023 shall be excluded in computing the
                  date for a speedy trial in this case. So Ordered by Judge Dabney L. Friedrich on May
                  10, 2023. (lcdlf1) (Entered: 05/10/2023)
05/10/2023        Set/Reset Hearings as to ZACHARY JORDAN ALAM: Motion Hearing set for
                  6/27/2023 at 11:00 AM in Courtroom 14− In Person before Judge Dabney L.
                  Friedrich. (zjch, ) (Entered: 05/11/2023)


                                                                                                            21
  Case 1:21-cr-00190-DLF         Document 141           Filed 12/02/24       Page 22 of 46



05/12/2023   62   RESPONSE by ZACHARY JORDAN ALAM re 58 MOTION in Limine Omnibus
                  Motion in Limine (Smith, Jerry) (Entered: 05/12/2023)
05/12/2023   63   Memorandum in Opposition by USA as to ZACHARY JORDAN ALAM re 56
                  Motion to Suppress Contents of Notebooks (Attachments: # 1 Exhibit B)(Smith,
                  Joseph) (Entered: 05/12/2023)
05/13/2023   65   Memorandum in Opposition by USA as to ZACHARY JORDAN ALAM re 60
                  Motion for Bill of Particulars (Smith, Joseph) (Entered: 05/13/2023)
05/13/2023   66   Memorandum in Opposition by USA as to ZACHARY JORDAN ALAM re 59
                  Motion for Miscellaneous Relief (Smith, Joseph) (Entered: 05/13/2023)
05/13/2023   67   Memorandum in Opposition by USA as to ZACHARY JORDAN ALAM re 57
                  Motion for Miscellaneous Relief (Smith, Joseph) (Entered: 05/13/2023)
05/18/2023   68   Unopposed MOTION for Extension of Time to File Replies to Oppositions by
                  ZACHARY JORDAN ALAM. (Attachments: # 1 Text of Proposed Order)(Smith,
                  Jerry) (Entered: 05/18/2023)
05/18/2023        MINUTE ORDER as to ZACHARY JORDAN ALAM granting the defendant's 68
                  Motion for Extension of Time. Both the government's and the defendant's replies to
                  all oppositions to pretrial motions shall be filed on or before June 5, 2023. So
                  Ordered by Judge Dabney L. Friedrich on May 18, 2023. (lcdlf2) (Entered:
                  05/18/2023)
06/05/2023   69   REPLY by USA as to ZACHARY JORDAN ALAM re 62 Response to motion
                  (Lederer, Rebekah) (Entered: 06/05/2023)
06/05/2023   70   REPLY TO OPPOSITION to Motion by ZACHARY JORDAN ALAM re 57
                  MOTION Address Multiplicity re 36 Indictment (Smith, Jerry) (Entered: 06/05/2023)
06/06/2023   71   REPLY TO OPPOSITION to Motion by ZACHARY JORDAN ALAM re 56
                  MOTION to Suppress Contents of Two Notebooks Found in Motel Room (Smith,
                  Jerry) (Entered: 06/06/2023)
06/27/2023        Minute Entry for proceedings held before Judge Dabney L. Friedrich: granting 58
                  Motion in Limine as to ZACHARY JORDAN ALAM (1); Motion Hearing as to
                  ZACHARY JORDAN ALAM held on 6/27/2023 re 58 MOTION in Limine Omnibus
                  Motion in Limine filed by USA, 60 MOTION for Bill of Particulars filed by
                  ZACHARY JORDAN ALAM, 56 MOTION to Suppress Contents of Two Notebooks
                  Found in Motel Room filed by ZACHARY JORDAN ALAM, 57 MOTION Address
                  Multiplicity re 36 Indictment filed by ZACHARY JORDAN ALAM, 59 MOTION
                  for Special Unanimity Instruction filed by ZACHARY JORDAN ALAM ;
                  Supplemental Memorandum due by 6/30/2023., Motions due by 7/7/2023., Proposed
                  Voir Dire due by 7/7/2023., Responses due by 7/10/2023. Bond Status of Defendant:
                  Remains Committed; Court Reporter: Sara Wick Defense Attorney: Jerry Smith. Jr.;
                  US Attorney: Rebekah Lederer and Jos Smith; (zjch, ) (Entered: 06/27/2023)
06/27/2023   72   Unopposed MOTION to Exclude Time under the Speedy Trial Act by ZACHARY
                  JORDAN ALAM. (Smith, Jerry) Modified Event on 6/28/2023 (zhsj). (Entered:
                  06/27/2023)
06/28/2023        MINUTE ORDER as to ZACHARY JORDAN ALAM granting the defendant's 72
                  Unopposed Motion to Exclude Time Under the Speedy Trial Act. In order for the
                  defense to file an additional motion, consider issues related to the defendant's legal


                                                                                                           22
  Case 1:21-cr-00190-DLF         Document 141          Filed 12/02/24       Page 23 of 46



                  representation, and determine how to best defend this case, see 18 U.S.C. §
                  3161(h)(7)(B)(iv)−−the Court finds that the "ends of justice outweigh the best interest
                  of the public and the defendant in a speedy trial." 18 U.S.C. § 3161(h)(7)(A).
                  Accordingly, pursuant to the Speedy Trial Act, and with the consent of the defendant,
                  the time from June 27, 2023 through July 10, 2023 shall be excluded in computing
                  the date for a speedy trial in this case. So Ordered by Judge Dabney L. Friedrich on
                  June 28, 2023. (lcdlf2) (Entered: 06/28/2023)
06/28/2023        MINUTE ORDER as to ZACHARY JORDAN ALAM. The government shall file its
                  supplemental memorandum related to Counts One and Two of the Superseding
                  Indictment on or before June 30, 2023. The defendant shall file his supplemental
                  motion for a unanimity instruction with respect to Count One of the Indictment on or
                  before July 7, 2023, and the government shall file a response, if any, on or before
                  July 10, 2023 at 9:00am. So Ordered by Judge Dabney L. Friedrich on June 28, 2023.
                  (lcdlf2) (Entered: 06/28/2023)
06/28/2023   73   PROPOSED VOIR DIRE. See text for details. The parties shall file objections on or
                  before July 7, 2023. So Ordered by Judge Dabney L. Friedrich on June 28, 2023.
                  (lcdlf2) (Entered: 06/28/2023)
06/30/2023   74   RESPONSE TO ORDER OF THE COURT by USA as to ZACHARY JORDAN
                  ALAM re Order, RE: COUNT ONE AND TWO OF THE INDICTMENT (Smith,
                  Joseph) (Entered: 06/30/2023)
06/30/2023   75   MOTION to Withdraw as Attorney by Jerry Ray Smith, Jr.. by ZACHARY
                  JORDAN ALAM. (Smith, Jerry) (Entered: 06/30/2023)
07/06/2023   76   MOTION to Dismiss Count One or, Alternatively, for a Bill of Particulars or, if not
                  that, a Special Unanimity Instruction by ZACHARY JORDAN ALAM. (Smith,
                  Jerry) (Entered: 07/06/2023)
07/06/2023   77   MOTION for Bill of Particulars or, if not that, a Special Unanimity Instruction by
                  ZACHARY JORDAN ALAM. (See Docket Entry 76 to View Document). (zhsj)
                  (Entered: 07/07/2023)
07/07/2023   78   Proposed Voir Dire by ZACHARY JORDAN ALAM (Smith, Jerry) (Entered:
                  07/07/2023)
07/09/2023   79   Proposed Jury Instructions by ZACHARY JORDAN ALAM (Smith, Jerry) (Entered:
                  07/09/2023)
07/10/2023   80   RESPONSE by USA as to ZACHARY JORDAN ALAM re 77 MOTION for Bill of
                  Particulars, 76 MOTION to Dismiss Count One or, Alternatively, for a Bill of
                  Particulars or, if not that, a Special Unanimity Instruction in Opposition (Lederer,
                  Rebekah) (Entered: 07/10/2023)
07/10/2023        Minute Entry for proceedings held before Judge Dabney L. Friedrich: denying 56
                  Motion to Suppress as to ZACHARY JORDAN ALAM (1); Motion Hearing as to
                  ZACHARY JORDAN ALAM held on 7/10/2023 re 56 MOTION to Suppress
                  Contents of Two Notebooks Found in Motel Room filed by ZACHARY JORDAN
                  ALAM ; Exhibit List due by 8/25/2023., Steven Metcalf to enter appearance by
                  7/14/2023., Motions due by 7/26/2023., Motion in Limine due by 7/26/2023.,
                  Responses due by 8/7/2023, Replies due by 8/10/2023., Witness List due by
                  8/28/2023., Jury Trial set for 7/31/2023 at 9:00 AM in Courtroom 14− In Person
                  before Judge Dabney L. Friedrich., Jury Trial set for 9/5/2023 at 09:00 AM in


                                                                                                            23
  Case 1:21-cr-00190-DLF         Document 141          Filed 12/02/24        Page 24 of 46



                  Courtroom 14− In Person before Judge Dabney L. Friedrich. Motion Hearing set for
                  8/11/2023 at 10:00 AM in Courtroom 14− In Person before Judge Dabney L.
                  Friedrich., Pretrial Conference set for 8/31/2023 at 2:00 PM in Courtroom 14− In
                  Person before Judge Dabney L. Friedrich., Status Conference set for 7/17/2023 at
                  2:00 PM in Courtroom 14− In Person before Judge Dabney L. Friedrich. Speedy
                  Trial Excludable (XT) started 7/10/2023 through 9/5/2023 in the interest of justice as
                  to ZACHARY JORDAN ALAM. Bond Status of Defendant: Remains Committed;
                  Court Reporter: Sara Wick Defense Attorney: Jerry Smith. Jr. and Stephen Metcalf
                  (may enter appearance); US Attorney: Rebekah Lederer and Joseph Smith. (zjch, )
                  (Entered: 07/10/2023)
07/10/2023        MINUTE ORDER as to ZACHARY JORDAN ALAM. The July 31, 2023 trial date
                  is VACATED. Jury trial is set for September 5, 2023 at 9:00am. A motions hearing is
                  set for August 11, 2023 at 10:00am. Any remaining pretrial motions or motions in
                  limine shall be filed by the parties on or before July 26, 2023; responses shall be due
                  on or before August 7, 2023; and replies shall be due on or before August 10, 2023.
                  The government's opposition to the defendant's 78 Voir Dire and 79 Jury Instruction
                  objections shall be filed on or before July 24, 2023. Any further objections to voir
                  dire and jury instructions from the defendant through new defense counsel shall be
                  filed on or before July 21, 2023, and if further objections are filed, the government's
                  response shall instead be due on or before July 28, 2023. Any reply by the defendant
                  as to voir dire and jury instructions shall be filed on or before August 4, 2023. In
                  addition, the defendant shall file a reply in support of his 76 Motion to Dismiss or for
                  a Bill of Particulars or Special Unanimity Instruction as to the "another felony"
                  language on or before July 17, 2023.A pretrial conference is set for August 31, 2023
                  at 2:00pm. The parties shall exchange exhibit lists on or before August 25, 2023, and
                  file objections on or before August 28, 2023. Counsel shall furnish the Court with
                  two sets of binders containing exhibits lists and copies of their premarked exhibits on
                  or before August 28, 2023.A backup trial date is set for August 14, 2023 at 9:00am.
                  A status hearing is set for July 17, 2023 at 2:00pm if no substitute counsel appears on
                  or before July 14, 2023. In addition, for the reasons stated on the record at today's
                  hearing, as well as the hearing held on June 27, 2023, the defendant's 56 Motion to
                  Suppress is DENIED, and the government's 58 Omnibus Motion in Limine is
                  GRANTED. Finally, for the reasons stated during today's hearing−−namely, the need
                  for the defense to review discovery, potentially retain new counsel, file motions, and
                  determine how best to defend this case, see 18 U.S.C. § 3161(h)(7)(B)(iv)−−the
                  Court finds that the "ends of justice outweigh the best interest of the public and the
                  defendant in a speedy trial." 18 U.S.C. § 3161(h)(7)(A). Accordingly, pursuant to the
                  Speedy Trial Act and with the consent of the defendant, the time from July 10, 2023
                  through September 5, 2023 shall be excluded in computing the date for a speedy trial
                  in this case. So Ordered by Judge Dabney L. Friedrich on July 10, 2023. (lcdlf2)
                  (Entered: 07/10/2023)
07/12/2023   81   REVISED PRETRIAL ORDER as to ZACHARY JORDAN ALAM. See text for
                  details. Signed by Judge Dabney L. Friedrich on July 12, 2023. (lcdlf2) (Entered:
                  07/12/2023)
07/12/2023   83   SECOND SUPERSEDING INDICTMENT as to ZACHARY JORDAN ALAM (1)
                  count(s) 1ss, 2ss, 3ss, 4ss, 5ss, 6ss, 7ss, 8ss, 9ss, 10ss, 11ss. (zhsj) (Entered:
                  07/16/2023)
07/14/2023        NOTICE OF HEARING as to ZACHARY JORDAN ALAM. Arraignment set for
                  7/11/2023 at 10:00 AM in Courtroom 14− In Person before Judge Dabney L.


                                                                                                             24
  Case 1:21-cr-00190-DLF         Document 141           Filed 12/02/24       Page 25 of 46



                  Friedrich. (zjch, ) (Entered: 07/14/2023)
07/14/2023        NOTICE OF HEARING as to ZACHARY JORDAN ALAM. Arraignment set for
                  8/11/2023 at 10:00 AM in Courtroom 14− In Person before Judge Dabney L.
                  Friedrich. (zjch, ) (Entered: 07/14/2023)
07/14/2023   82   NOTICE OF ATTORNEY APPEARANCE: Steven Alan Metcalf, II appearing for
                  ZACHARY JORDAN ALAM (Metcalf, Steven) (Entered: 07/14/2023)
07/17/2023        MINUTE ORDER as to ZACHARY JORDAN ALAM granting the defendant's 75
                  Motion to Withdraw as Attorney. The Clerk of Court shall withdraw Jerry Ray
                  Smith, Jr. as counsel to the defendant. So Ordered by Judge Dabney L. Friedrich on
                  July 17, 2023. (lcdlf2) (Entered: 07/17/2023)
07/24/2023   85   RESPONSE by USA as to ZACHARY JORDAN ALAM re 79 Proposed Jury
                  Instructions (Lederer, Rebekah) (Entered: 07/24/2023)
07/24/2023   86   RESPONSE by USA as to ZACHARY JORDAN ALAM Defense Proposed Voir
                  Dire (Smith, Joseph) (Entered: 07/24/2023)
07/25/2023        NOTICE OF HEARING as to ZACHARY JORDAN ALAM. Motion Hearing set for
                  8/11/2023 at 11:00 AM in Courtroom 14− In Person before Judge Dabney L.
                  Friedrich. (zjch, ) (Entered: 07/25/2023)
08/03/2023        MINUTE ORDER as to ZACHARY JORDAN ALAM. The Court has reviewed the
                  83 Second Superseding Indictment, Counts 1 and 2 of which contain revised charges
                  under 18 U.S.C. § 111. It remains unclear to the Court from the face of the indictment
                  whether the government intends to prove at trial two separate assaults or a single §
                  111 assault with different sentencing enhancements. Moreover, under either reading,
                  the Second Superseding Indictment appears to have left open more questions. Count
                  One charges assault with physical contact with the victim and intent to commit
                  another felony, either of which would trigger an 8−year maximum sentence. 18
                  U.S.C. § 111(a). Count Two charges assault with physical contact with the victim,
                  intent to commit another felony, and use of a deadly or dangerous weapon; on the
                  Court's reading of the statute, use of a deadly or dangerous weapon alone would
                  trigger a 20−year maximum sentence, regardless of the other two elements. 18 U.S.C.
                  § 111(b). If the government intends to charge one assault, it is not clear why Count
                  Two would include physical contact with the victim and intent to commit another
                  felony as elements at all. Additionally, the Court remains skeptical that a judgment of
                  conviction could be entered on both Counts. That, is, the Court is inclined to agree
                  with the defendant that 18 U.S.C. § 111(a) and (b) present different statutory
                  sentencing factors triggering different potential maximum sentences for a single
                  offense, and Blockburger does not apply. If the government instead intends to charge
                  two assaults, then as stated at the Court's prior two motions hearings, the distinction
                  between them remains unclear from the face of the indictment. Moreover, it appears
                  that at a minimum, a special verdict form would be required for Count Two. In the
                  Court's view, the government has still not provided sufficient clarification or
                  response on these issues. Accordingly, on or before close of business on August 7,
                  2023, the government is ORDERED to SHOW CAUSE why a bill of particulars
                  should not be ordered or other relief granted by the Court as to Counts One and Two
                  of the Second Superseding Indictment. The government shall address (1) whether it
                  intends to prove a single assault with one set of facts or two different assaults (and if
                  two assaults, the expected distinct facts proving each); (2) what revised jury
                  instructions should issue based on the second superseding Counts One and Two


                                                                                                              25
  Case 1:21-cr-00190-DLF          Document 141          Filed 12/02/24        Page 26 of 46



                  (along with any other proposed revised jury instructions, if any other counts have
                  changed between the First and Second Superseding Indictment); and (3) whether the
                  parties' 51 −3 Joint Verdict Form should be revised, including whether a special
                  verdict form should be given to the jury asking it to evaluate whether the government
                  has met its burden with respect to the various sentencing enhancement options under
                  18 U.S.C. § 111. So Ordered by Judge Dabney L. Friedrich on August 3, 2023.
                  (lcdlf2) (Entered: 08/03/2023)
08/03/2023        Set/Reset Deadlines as to ZACHARY JORDAN ALAM: Show Cause Response due
                  by 8/7/2023. (zjch, ) (Entered: 08/04/2023)
08/07/2023   87   ENTERED IN ERROR.....RESPONSE TO ORDER OF THE COURT by USA as to
                  ZACHARY JORDAN ALAM re Order,,,,,,,,,,,, (Attachments: # 1 Exhibit)(Lederer,
                  Rebekah) Modified on 8/8/2023 (zhsj). (Entered: 08/07/2023)
08/08/2023   88   MOTION to Dismiss Count Two of Second Superseding Indictment by USA as to
                  ZACHARY JORDAN ALAM. (Attachments: # 1 Text of Proposed Order)(Smith,
                  Joseph) (Entered: 08/08/2023)
08/10/2023        NOTICE OF HEARING as to ZACHARY JORDAN ALAM. Arraignment set for
                  8/11/2023 at 11:00 AM in Courtroom 14− In Person before Judge Dabney L.
                  Friedrich. (zjch, ) (Entered: 08/10/2023)
08/11/2023        Minute Entry for Motion Hearing as to ZACHARY JORDAN ALAM held on
                  8/11/2023 re 57 MOTION Address Multiplicity re 36 Indictment filed by
                  ZACHARY JORDAN ALAM, 59 MOTION for Special Unanimity Instruction filed
                  by ZACHARY JORDAN ALAM, 60 MOTION for Bill of Particulars filed by
                  ZACHARY JORDAN ALAM, 76 MOTION to Dismiss Count One or, Alternatively,
                  for a Bill of Particulars or, if not that, a Special Unanimity Instruction filed by
                  ZACHARY JORDAN ALAM, 88 MOTION to Dismiss Count Two of Second
                  Superseding Indictment filed by USA, 58 MOTION in Limine Omnibus Motion in
                  Limine filed by USA and Arraignment as to ZACHARY JORDAN ALAM as to
                  Counts 1ss,2ss,3ss,4ss,5ss,6ss,7ss,8ss,9ss,10ss,11ss held on 8/11/2023 before Judge
                  Dabney L. Friedrich. finding as moot 57 Motion as to ZACHARY JORDAN ALAM
                  (1); denying 59 Motion as to ZACHARY JORDAN ALAM (1); denying 60 Motion
                  for Bill of Particulars as to ZACHARY JORDAN ALAM (1); denying 76 Motion to
                  Dismiss Count(s): as to ZACHARY JORDAN ALAM (1) Count
                  1ss,2ss,3ss,4ss,5ss,6ss,7ss,8ss,9ss,10ss,11ss as to ZACHARY JORDAN ALAM (1);
                  granting 88 Motion to Dismiss Count(s): as to ZACHARY JORDAN ALAM (1)
                  Count 1ss,2ss,3ss,4ss,5ss,6ss,7ss,8ss,9ss,10ss,11ss as to ZACHARY JORDAN
                  ALAM (1). Not Guilty Plea entered as to ZACHARY JORDAN ALAM on counts
                  1ss,2ss,3ss,4ss,5ss,6ss,7ss,8ss,9ss,10ss,11ss. Proposed Jury Instructions due by
                  8/17/2023, Responses due by 8/22/2023, Replies due by 8/24/2023. Bond Status of
                  Defendant: Remains Committed; Court Reporter: Sara Wick Defense Attorney:
                  Steven Metcalf; US Attorney: Rebekah Lederer and Joe Smith. (zjch, ) (Entered:
                  08/11/2023)
08/11/2023        MINUTE ORDER as to ZACHARY JORDAN ALAM. As stated at today's status
                  hearing, the parties are directed to file revised jointly proposed jury instructions on or
                  before August 17, 2023. In addition, the parties should email to the Courtroom
                  Deputy in Microsoft Word format a clean and a redline copy of the revisions that
                  reflect the changes to the original proposed jury instructions. As discussed, the parties
                  should include the government's revised jury instructions as to Count One, Dkt. 87
                  −1; additional language related to "another felony" in Count One as agreed upon at

                                                                                                               26
  Case 1:21-cr-00190-DLF         Document 141           Filed 12/02/24        Page 27 of 46



                  today's status hearing; the government's proposed revised instruction for Count Five,
                  Dkt. 85 ; and any additional revisions on which the parties agree. The parties should
                  delete instructions for the dismissed Count Two. The government shall file a
                  memorandum in support of its proposed instruction as to Count Five on or before
                  August 17, 2023; the defendant shall file a response on or before August 22, 2023;
                  and the government shall file a reply, if any, on or before August 24, 2023. The
                  defendant shall file any objections to the jointly proposed jury instructions, other than
                  those to be addressed with respect to Count Five in the government's briefing, on or
                  before August 17, 2023; the government shall file a response on or before August 22,
                  2023; and the defendant shall file a reply, if any, on or before August 24, 2023.
                  Finally, the parties shall address any remaining pretrial issues in filings made on or
                  before August 17, 2023. So Ordered by Judge Dabney L. Friedrich on August 11,
                  2023. (lcdlf2) (Entered: 08/11/2023)
08/11/2023   89   VOIR DIRE as to ZACHARY JORDAN ALAM. See text for details. Upon further
                  review, the Court declines to include the defense's 78 proposed question (b), which is
                  duplicative of Question 16 in the attached. So Ordered by Judge Dabney L. Friedrich
                  on August 11, 2023. (lcdlf2) (Entered: 08/11/2023)
08/17/2023   90   Proposed Jury Instructions by USA as to ZACHARY JORDAN ALAM
                  (Attachments: # 1 Exhibit Joint Amended Proposed Jury Instructions)(Smith, Joseph)
                  (Entered: 08/17/2023)
08/28/2023        MINUTE ORDER as to ZACHARY JORDAN ALAM. The Court's scheduling order
                  dated August 11, 2023 is modified as follows: the government shall file a
                  memorandum in support of its proposed instructions as to Count Five on or before
                  August 28, 2023. The defendant shall file a response on or before August 31, 2023 at
                  9:00 am. No reply will be necessary. So Ordered by Judge Dabney L. Friedrich on
                  August 28, 2023. (lcdlf1) (lcnw) (Entered: 08/28/2023)
08/28/2023        Set/Reset Deadlines as to ZACHARY JORDAN ALAM: Responses due by
                  8/31/2023 (zjch, ) (Entered: 08/28/2023)
08/28/2023   91   MEMORANDUM in Support of Proposed Jury Instructions on Count 5 by USA as to
                  ZACHARY JORDAN ALAM (Smith, Joseph) Modified Text on 8/29/2023 (zhsj).
                  (Entered: 08/28/2023)
08/29/2023        MINUTE ORDER as to ZACHARY JORDAN ALAM. On July 12, 2023, the Court
                  ordered both parties to exchange, on or before August 25, 2023, the exhibits they
                  intend to use in their cases−in−chief. The Court also ordered the parties to submit any
                  objections to those exhibits and to provide the Court with copies of those exhibits on
                  or before August 28, 2023. Finally, it ordered the government to provide its witness
                  list to the defense and the Court on or before August 25, 2023, and it ordered the
                  defense to provide its witness list to the government and to the Court on or before
                  August 28, 2023.

                  The government has complied with the Court's order. The defense has not. The Court
                  intends to address all objections to exhibits and witnesses at the pretrial conference
                  scheduled for August 31, 2023 at 2:00 p.m. Accordingly, it is ORDERED as follows:
                  On or before 2:00pm on August 30, 2023, the defense shall file any objections to the
                  government's exhibits and witnesses, or the Court will deem them waived. At that
                  time, the defense shall also file any exhibits and a list of witnesses (other than the
                  defendant) that it intends to call in its case−in−chief. The government shall file any
                  objections to the defense's exhibits and witnesses on or before August 31, 2023 at

                                                                                                              27
  Case 1:21-cr-00190-DLF         Document 141           Filed 12/02/24        Page 28 of 46



                  9:00 a.m. So Ordered by Judge Dabney L. Friedrich on August 29, 2023. (lcdlf1)
                  (lcnw) (Entered: 08/29/2023)
08/29/2023        Set/Reset Deadlines/Hearings as to ZACHARY JORDAN ALAM:Defense Exhibit
                  List due by 8/30/2023. Government's objection to defense exhibits and witness list
                  due by 8/31/2023. Defense Responses due by 8/30/2023. Defense Witness List due
                  by 8/30/2023. (zjch, ) (Entered: 08/29/2023)
08/30/2023        MINUTE ORDER as to ZACHARY JORDAN ALAM. In light of the government's
                  83 Second Superseding Indictment and its 88 dismissal of Count 2 of that indictment,
                  and in view of the pretrial conference scheduled for August 31, 2023 at 2:00pm, it is
                  ORDERED as follows: on or before August 31, 2023 at 12:00pm, the parties shall
                  provide the Court with a revised Joint Proposed Statement of the Case reflecting the
                  dismissal of Count 2 of the Second Superseding Indictment. They shall also provide
                  the Court with a revised verdict form, taking into account the dismissal of Count 2
                  and making provision for any lesser included offenses on which the jury will be
                  instructed, and a list of any stipulations they have executed or intend to execute. So
                  Ordered by Judge Dabney L. Friedrich on August 30, 2023. (lcdlf1) (Entered:
                  08/30/2023)
08/31/2023   92   PROPOSED VERDICT FORM as to ZACHARY JORDAN ALAM (Lederer,
                  Rebekah) (Entered: 08/31/2023)
08/31/2023   93   STATEMENT OF CASE by USA as to ZACHARY JORDAN ALAM (Lederer,
                  Rebekah) (Entered: 08/31/2023)
08/31/2023        Minute Entry for Pretrial Conference as to ZACHARY JORDAN ALAM held on
                  8/31/2023 before Judge Dabney L. Friedrich. Pretrial Conference set for 9/1/2023 at
                  12:00 PM in Courtroom 14− In Person before Judge Dabney L. Friedrich. Bond
                  Status of Defendant: Remains Committed; Court Reporter: Sara Wick; Defense
                  Attorney: Steven Metcalf; US Attorney: Rebekah Lederer and Joe Smith. (zjch, )
                  (Entered: 08/31/2023)
08/31/2023        MINUTE ORDER as to ZACHARY JORDAN ALAM. Consistent with the
                  discussion at today's hearing, the pretrial hearing in this matter is CONTINUED to
                  September 1, 2023 at 12:00pm. The Court further ORDERS as follows: by the end of
                  today, August 31, 2023, the defense shall file any and all proposed additional
                  questions for voir dire; the government shall file any response on or before 9:00am
                  on September 1, 2023. In addition, on or before 9:00am on September 1, 2023, the
                  defense shall file, ex parte if need be, a motion or proffer establishing its good−faith
                  basis for calling Officers McKenna, Tyson, Byrd, Yetter, and Lanciano as witnesses
                  at trial. So Ordered by Judge Dabney L. Friedrich on August 31, 2023. (lcdlf1)
                  (Entered: 08/31/2023)
08/31/2023        MINUTE ORDER as to ZACHARY JORDAN ALAM directing the parties to
                  provide to the Court by 11:00 am on September 1 (1) the videos of the alleged assault
                  that each party intends to introduce at trial (or, if the Court already has access to the
                  videos, each party shall identify the relevant videos by exhibit number) and (2) all
                  Jencks materials for (a) the three officers who were victims of the alleged assault and
                  (b) the three officers who were on the inside of the Speaker's Lobby doors at the time
                  of the alleged assault. So Ordered by Judge Dabney L. Friedrich on August 31, 2023.
                  (lcdlf1) (Entered: 08/31/2023)
08/31/2023   94   Proposed Voir Dire by ZACHARY JORDAN ALAM (Metcalf, Steven) (Entered:
                  08/31/2023)

                                                                                                              28
  Case 1:21-cr-00190-DLF          Document 141          Filed 12/02/24       Page 29 of 46



09/01/2023    95   Defenses Proffer for Officers Behind the Doors by ZACHARY JORDAN ALAM.
                   (Metcalf, Steven) Modified on 9/4/2023 (zhsj). (Entered: 09/01/2023)
09/01/2023    96   NOTICE of Intent to Offer Evidence under FRE 902(14)−IPhone by USA as to
                   ZACHARY JORDAN ALAM (Attachments: # 1 Affidavit Data copied pursuant to
                   FRE 902(14))(Smith, Joseph) (Entered: 09/01/2023)
09/01/2023    97   NOTICE of Intent to Offer Evidence under FRE 902(14) − ICloud by USA as to
                   ZACHARY JORDAN ALAM (Attachments: # 1 Affidavit Data copied pursuant to
                   FRE 902(14))(Smith, Joseph) (Entered: 09/01/2023)
09/01/2023         Minute Entry for Pretrial Conference as to ZACHARY JORDAN ALAM held on
                   9/1/2023 before Judge Dabney L. Friedrich. Bond Status of Defendant: Remains
                   Committed; Court Reporter: Sara Wick; Defense Attorney: Steven Metcalf; US
                   Attorney: Rebekah Lederer and Joe Smith. (zjch, ) (Entered: 09/01/2023)
09/01/2023    98   MINUTE ORDER as to ZACHARY JORDAN ALAM. Consistent with today's
                   hearing, on or before September 4, 2023, (1) the parties shall review the attached
                   revised voir dire questions and file any objections; (2) the parties shall file any
                   proposed stipulations for the Court's consideration; (3) the government shall file a
                   redacted and interlineated copy of the 83 Second Superseding Indictment and upload
                   edited videos to USAFx. The parties shall also promptly confer with one another to
                   ensure that the defense has access to all discovery, including potential Jencks
                   materials for all law enforcement witnesses. Finally, the parties shall be prepared at
                   the close of the government's case−in−chief to file briefs and offer argument as to
                   whether the defense may be permitted to call Officers McKenna, Tyson and Bird as
                   witnesses. So Ordered by Judge Dabney L. Friedrich on September 1, 2023. (lcdlf1)
                   (Entered: 09/01/2023)
09/04/2023    99   Unopposed MOTION to Amend/Correct Count Two of Second Superseding
                   Indictment by USA as to ZACHARY JORDAN ALAM. (Smith, Joseph) (Entered:
                   09/04/2023)
09/04/2023   100   NOTICE of Proposed Redacted and Interlineated 2nd Superseding Indictment by
                   USA as to ZACHARY JORDAN ALAM re 83 Indictment, 98 Order,,, (Attachments:
                   # 1 Supplement Proposed Redacted and Interlineated Indictment)(Lederer, Rebekah)
                   (Entered: 09/04/2023)
09/05/2023         MINUTE ORDER as to ZACHARY JORDAN ALAM. Upon consideration of the
                   government's 99 unopposed motion to strike and interlineate language in the 83
                   Second Superseding Indictment, the motion is GRANTED. So Ordered by Judge
                   Dabney L. Friedrich on September 5, 2023. (lcdlf1) (Entered: 09/05/2023)
09/05/2023         Minute Entry for Voir Dire held on 9/5/2023 as to ZACHARY JORDAN ALAM
                   before Judge Dabney L. Friedrich. Jury Trial set for 9/6/2023 at 9:00 AM in
                   Courtroom 14− In Person before Judge Dabney L. Friedrich. Bond Status of
                   Defendant: Remains Committed; Court Reporter: Sara Wick and Tim Miller; Defense
                   Attorney: Steven Metcalf; US Attorney: Rebekah Lederer and Joe Smith; (zjch, )
                   (Entered: 09/05/2023)
09/06/2023         Minute Entry for Jury Selection as to ZACHARY JORDAN ALAM held on 9/6/2023
                   before Judge Dabney L. Friedrich. Jury panel of 12 and 2 alternates selected, but not
                   sworn in. Jury Trial set for 9/7/2023 at 9:30 AM in Courtroom 14− In Person before
                   Judge Dabney L. Friedrich. Bond Status of Defendant: Remains Committed; Court
                   Reporter: Sara Wick and Tim Miller; Defense Attorney: Steven Metcalf; US


                                                                                                            29
  Case 1:21-cr-00190-DLF          Document 141          Filed 12/02/24       Page 30 of 46



                   Attorney: Rebekah Lederer and Joe Smith; (zjch, ) (Entered: 09/06/2023)
09/06/2023         MINUTE ORDER: The Court having impaneled the jury in this action, it is hereby
                   ORDERED that during trial and deliberations all meals for said jury shall be paid by
                   the Clerk of the Court for the U.S. District Court for the District of Columbia. Signed
                   by Judge Dabney L. Friedrich on 9/6/2023. (zjch, ) (Entered: 09/06/2023)
09/07/2023         Minute Entry for Jury Trial as to ZACHARY JORDAN ALAM held on 9/7/2023
                   before Judge Dabney L. Friedrich. The jury and alternates sworn in. Jury Trial set for
                   9/8/2023 at 9:30 AM in Courtroom 14− In Person before Judge Dabney L. Friedrich.
                   Bond Status of Defendant: Remains Committed; Court Reporter: Sara Wick and Tim
                   Miller; Defense Attorney: Steven Metcalf; US Attorney: Rebekah Lederer and Joe
                   Smith. Witnesses: Thomas Wickham, Inspector Tom Loyd, Agent Lanelle Howa,
                   Timothy Lively (zjch, ) (Entered: 09/07/2023)
09/08/2023         Minute Entry for Jury Trial as to ZACHARY JORDAN ALAM held on 9/8/2023
                   before Judge Dabney L. Friedrich. Same jury and alternates. Brief due by 9/9/2023.
                   Jury Trial set for 9/11/2023 at 9:30 AM in Courtroom 14− In Person before Judge
                   Dabney L. Friedrich. Bond Status of Defendant: Remains Committed; Court
                   Reporter: Sara Wick and Tim Miller; Defense Attorney: Steven Metcalf; US
                   Attorney: Rebekah Lederer and Joe Smith. Witnesses: Timothy Lively, Kyle Yetter,
                   Patrick Armor, Rosemaria Marketos (zjch, ) (Entered: 09/08/2023)
09/10/2023   101   MOTION to Permit Government to Re−open Case by USA as to ZACHARY
                   JORDAN ALAM. (Smith, Joseph) (Entered: 09/10/2023)
09/11/2023   102   DEFENDANT ALAMS SECOND PROFFER FOR OFFICERS BEHIND THE
                   SPEAKERS LOBBY DOORS by ZACHARY JORDAN ALAM (zjch, ) (Entered:
                   09/11/2023)
09/11/2023   103   GOVERNMENTS REPONSE TO DEFENDANTS SECOND PROFFER FOR
                   TESTIMONY FROM OFFICERS BEHIND THE SPEAKERS LOBBY DOORS by
                   USA as to ZACHARY JORDAN ALAM re 102 Factual Proffer (zjch, ) (Entered:
                   09/11/2023)
09/11/2023         Minute Entry for Jury Trial as to ZACHARY JORDAN ALAM held on 9/11/2023
                   before Judge Dabney L. Friedrich. Same jury and alternates. Evidence and testimony
                   completed. Alternates excused. Jury deliberation commenced. Jury Deliberation set
                   for 9/12/2023 at 9:00 AM in Courtroom 14− In Person before Judge Dabney L.
                   Friedrich. Bond Status of Defendant: Remains Committed; Court Reporter: Sara
                   Wick and Tim Miller; Defense Attorney: Steven Metcalf; US Attorney: Rebekah
                   Lederer and Joe Smith. (zjch, ) (Entered: 09/11/2023)
09/11/2023   104   Final jury instructions (distributed to jury) as to ZACHARY JORDAN ALAM.
                   (lcdlf1) (Entered: 09/11/2023)
09/12/2023   105   Jury Note #1 as to ZACHARY JORDAN ALAM (zjch, ) (Entered: 09/12/2023)
09/12/2023   106   Signature Page of Foreperson

                   as to ZACHARY JORDAN ALAM in Jury Note #1. (Access to the PDF Document is
                   restricted pursuant to the E−Government Act. Access is limited to Counsel of Record
                   and the Court.) (zjch, ) (Entered: 09/12/2023)
09/12/2023   107   Jury Notes #2 as to ZACHARY JORDAN ALAM (zjch, ) (Entered: 09/12/2023)


                                                                                                             30
  Case 1:21-cr-00190-DLF          Document 141         Filed 12/02/24       Page 31 of 46



09/12/2023   108   Signature Page of Foreperson

                   as to ZACHARY JORDAN ALAM in Jury Note #2. (Access to the PDF Document is
                   restricted pursuant to the E−Government Act. Access is limited to Counsel of Record
                   and the Court.) (zjch, ) (Entered: 09/12/2023)
09/12/2023   109   VERDICT FORM as to ZACHARY JORDAN ALAM (zjch, ) (Main Document 109
                   replaced on 9/12/2023) (zjch, ). (Entered: 09/12/2023)
09/12/2023   110   Signature Page of Foreperson

                   as to ZACHARY JORDAN ALAM in Jury Verdict Form. (Access to the PDF
                   Document is restricted pursuant to the E−Government Act. Access is limited to
                   Counsel of Record and the Court.) (zjch, ) (Main Document 110 replaced on
                   9/12/2023) (zjch, ). (Entered: 09/12/2023)
09/12/2023   111   Jury Notes #3 as to ZACHARY JORDAN ALAM (zjch, ) (Entered: 09/12/2023)
09/12/2023   112   Signature Page of Foreperson

                   as to ZACHARY JORDAN ALAM in Jury Note #3. (Access to the PDF Document is
                   restricted pursuant to the E−Government Act. Access is limited to Counsel of Record
                   and the Court.) (zjch, ) (Entered: 09/12/2023)
09/12/2023         Minute Entry for proceedings as to ZACHARY JORDAN ALAM held on 9/12/2023
                   before Judge Dabney L. Friedrich. Same jury. Jury Deliberation commenced and
                   concluded. JURY VERDICT as to ZACHARY JORDAN ALAM. Guilty on Counts
                   1ss,3ss,4ss,5ss,6ss,7ss,8ss,9ss,10ss,11ss. Responses to Sentencing due by
                   12/29/2023. Sentencing Memorandum due by 12/22/2023. Sentencing set for
                   1/5/2024 at 1:00 PM in Courtroom 14− In Person before Judge Dabney L. Friedrich.
                   Bond Status of Defendant: Remains Committed; Court Reporter: Sara Wick; Defense
                   Attorney: Steven Metcalf; US Attorney: Rebekah Lederer and Joe Smith. (zjch, )
                   (Entered: 09/13/2023)
09/13/2023         REFERRAL TO PROBATION OFFICE for Presentence Investigation as to
                   ZACHARY JORDAN ALAM. (zjch, ) (Entered: 09/13/2023)
09/13/2023         MINUTE ORDER as to ZACHARY JORDAN ALAM. Consistent with the
                   discussion on September 12, 2023, the defendant shall file any post−trial motions on
                   or before October 12, 2023; the government shall file its opposition on or before
                   October 26, 2023; and the defendant shall file any reply on or before November 2,
                   2023. The defendant's sentencing hearing is scheduled for January 5, 2023 at 1:00
                   PM. The parties shall submit sentencing memoranda on or before December 22,
                   2023, and any oppositions on or before December 29, 2023. So Ordered by Judge
                   Dabney L. Friedrich on September 13, 2023. (lcdlf1) (Entered: 09/13/2023)
09/13/2023         Set/Reset Deadlines as to ZACHARY JORDAN ALAM: Motions due by
                   10/12/2023. Responses due by 10/26/2023 Replies due by 11/2/2023. (zjch, )
                   (Entered: 09/13/2023)
10/05/2023         Set/Reset Deadlines/Hearings as to ZACHARY JORDAN ALAM: Sentencing set for
                   1/8/2024 at 1:00 PM in Courtroom 14− In Person before Judge Dabney L. Friedrich.
                   (zjch, ) (Entered: 10/05/2023)
10/12/2023   115


                                                                                                          31
  Case 1:21-cr-00190-DLF          Document 141         Filed 12/02/24       Page 32 of 46



                   MOTION for Extension of Time to Submit Post−Trial Motions by ZACHARY
                   JORDAN ALAM. (Metcalf, Steven) (Entered: 10/12/2023)
10/13/2023         MINUTE ORDER as to ZACHARY JORDAN ALAM. Upon consideration of the
                   defendant's 115 Motion for Extension of Time, the motion is GRANTED. The
                   defendant shall file any post−trial motions on or before October 19, 2023. The
                   government shall file any oppositions on or before November 2, 2023. So Ordered by
                   Judge Dabney L. Friedrich on October 13, 2023. (lcdlf1) (Entered: 10/13/2023)
10/13/2023         Set/Reset Deadlines as to ZACHARY JORDAN ALAM: Motions due by
                   10/19/2023. Responses due by 11/2/2023 (zjch, ) (Entered: 10/13/2023)
10/19/2023   116   Second MOTION for Extension of Time to File Defense Post−Trial Motions by
                   ZACHARY JORDAN ALAM. (Metcalf, Steven) (Entered: 10/19/2023)
10/22/2023         MINUTE ORDER as to ZACHARY JORDAN ALAM. Upon consideration of the
                   defendant's 116 Motion, the motion is GRANTED. The defendant shall file any
                   post−conviction motions on or before October 25, 2023; the government shall file
                   any oppositions on or before November 8, 2023; and the defendant may file any reply
                   on or before November 15, 2023. The Court is not inclined to grant further extensions
                   at this time. So Ordered by Judge Dabney L. Friedrich on October 22, 2023. (lcdlf1)
                   (Entered: 10/22/2023)
10/26/2023   117   MOTION for Acquittal or MOTION pursuant to Rule 33 for new trial by ZACHARY
                   JORDAN ALAM. (Metcalf, Steven) Modified Text on 10/30/2023 (zhsj). (Entered:
                   10/26/2023)
11/09/2023   118   RESPONSE by USA as to ZACHARY JORDAN ALAM re 117 MOTION for
                   Acquittal or Judgment of Acquittal MOTION pursuant to Rule 33 for new trial
                   (Smith, Joseph) (Entered: 11/09/2023)
12/21/2023   119   ENTERED IN ERROR.....MOTION for Extension of Time to Extend the Sentencing
                   Date by ZACHARY JORDAN ALAM. (Metcalf, Steven) Modified on 12/21/2023
                   (zstd). (Entered: 12/21/2023)
12/21/2023         NOTICE OF ERROR as to ZACHARY JORDAN ALAM regarding 119 MOTION
                   for Extension of Time to Extend the Sentencing Date. The following error(s) need
                   correction: Incorrect format (Letter)− correspondence is not permitted (LCrR
                   49(f)(4)). Please refile. (zstd) (Entered: 12/21/2023)
12/28/2023   120   Joint MOTION to Continue The Sentencing Hearing Date by ZACHARY JORDAN
                   ALAM. (Metcalf, Steven) (Entered: 12/28/2023)
12/30/2023         MINUTE ORDER as to ZACHARY JORDAN ALAM. The defendant's 120 Motion
                   to Continue Sentencing Hearing is GRANTED. The defendant's sentencing hearing is
                   continued to April 8, 2024 at 10 AM. Sentencing memoranda shall be filed on or
                   before March 25, 2024. Responses to sentencing memoranda, if any, shall be filed on
                   or before April 1, 2024. So Ordered by Judge Dabney L. Friedrich on December 30,
                   2023. (lcdlf1) Modified to add time of hearing on 1/2/2024 (zsmc). (Entered:
                   12/30/2023)
12/30/2023         Set/Reset Deadlines/Hearings as to ZACHARY JORDAN ALAM: Responses to
                   Sentencing due by 4/1/2024. Sentencing Memorandum due by 3/25/2024. Sentencing
                   set for 4/8/2024 at 10:00 AM in Courtroom 14− In Person before Judge Dabney L.
                   Friedrich. (zjch, ) (Entered: 01/04/2024)


                                                                                                           32
  Case 1:21-cr-00190-DLF          Document 141          Filed 12/02/24       Page 33 of 46



01/02/2024         Set/Reset Deadlines/Hearings as to ZACHARY JORDAN ALAM: Sentencing
                   Memoranda due by 3/25/2024. Responses due by 4/1/2024. Sentencing set for
                   4/8/2024 at 10:00 AM in Courtroom 14 before Judge Dabney L. Friedrich. (smc)
                   (Entered: 01/02/2024)
03/04/2024         NOTICE OF HEARING as to ZACHARY JORDAN ALAM. Sentencing set for
                   4/19/2024 at 10:00 AM in Courtroom 14− In Person before Judge Dabney L.
                   Friedrich. (zjch, ) (Entered: 03/04/2024)
03/06/2024         MINUTE ORDER as to ZACHARY JORDAN ALAM. The defendant's sentencing
                   hearing is continued to April 19, 2024 at 10:00 am in Courtroom 14. Sentencing
                   memoranda shall be filed on or before April 5, 2024. Responses to sentencing
                   memoranda, if any, shall be filed on or before April 12, 2024. So Ordered by Judge
                   Dabney L. Friedrich on March 6, 2024. (lcdlf1) (Entered: 03/06/2024)
04/05/2024   123   SENTENCING MEMORANDUM by USA as to ZACHARY JORDAN ALAM
                   (Attachments: # 1 Exhibit Attachment A)(Smith, Joseph) (Entered: 04/05/2024)
04/12/2024   126   MOTION for Extension of Time to Submit Sentencing Materials and Extend the
                   Sentencing Date by ZACHARY JORDAN ALAM. (Metcalf, Steven) (Entered:
                   04/12/2024)
04/12/2024         MINUTE ORDER as to ZACHARY JORDAN ALAM (1). Upon consideration of
                   the defendant's 126 Motion for Extension of Time, the motion is GRANTED IN
                   PART and DENIED IN PART. The defendant has been provided ample time to
                   prepare his sentencing materials, not least because the Court has previously granted
                   him a continuance. Min. Order of Dec. 30, 2023. In addition, a continuance in this
                   matter would interfere with other trials and hearings the Court has scheduled in April.
                   Accordingly, the defendant shall file any sentencing memorandum on or before April
                   15, 2024 at 5:00pm. The defendant may file additional materials in aid of sentencing
                   (such as character letters) after that date if necessary. The defendant's request to
                   continue his sentencing hearing is DENIED. So Ordered by Judge Dabney L.
                   Friedrich on April 12, 2024. (lcdlf1) (Entered: 04/12/2024)
04/12/2024         Set/Reset Deadlines as to ZACHARY JORDAN ALAM: Sentencing Memorandum
                   due by 4/15/2024 @ 5 PM. (zjch, ) (Entered: 04/15/2024)
04/15/2024         MINUTE ORDER as to ZACHARY JORDAN ALAM. In preparation for
                   sentencing, the Court may wish to review video evidence of the defendant's activities
                   at the Capitol on January 6. Accordingly, on or before April 17, 2024, the parties
                   shall share with the Court via USAFx: (1) all video exhibits played at trial, (2) any
                   video exhibits that either party wishes to present at sentencing, and (3) any other
                   video materials that either party would like the Court to review before sentencing. So
                   Ordered by Judge Dabney L. Friedrich on April 15, 2024. (lcdlf1) (Entered:
                   04/15/2024)
04/15/2024   127   SENTENCING MEMORANDUM by ZACHARY JORDAN ALAM (Attachments:
                   # 1 Exhibit Letter from Alam Mother)(Metcalf, Steven) (Entered: 04/15/2024)
04/15/2024         Set/Reset Deadlines as to ZACHARY JORDAN ALAM:Video Exhibits due by
                   4/17/2024. (zjch, ) (Entered: 04/16/2024)
04/18/2024         Set/Reset Deadlines/Hearings as to ZACHARY JORDAN ALAM: Responses to
                   Sentencing due by 5/3/2024. Sentencing Memorandum due by 4/29/2024. Sentencing
                   set for 5/6/2024 at 10:00 AM in Courtroom 14− In Person before Judge Dabney L.


                                                                                                             33
  Case 1:21-cr-00190-DLF          Document 141          Filed 12/02/24        Page 34 of 46



                   Friedrich. (zjch, ) (Entered: 04/18/2024)
04/19/2024         MINUTE ORDER as to ZACHARY JORDAN ALAM. Consistent with the
                   discussion at yesterday's hearing, the defendant shall file a supplemental sentencing
                   memorandum on or before April 29, 2024, accompanied by a motion to seal if
                   necessary. The government may file any response on or before May 3, 2024. The
                   sentencing hearing scheduled for today, April 19 is CONTINUED to May 6, 2024 at
                   10:00 am in Courtroom 14. The Court will not extend the aforementioned deadlines.
                   So Ordered by Judge Dabney L. Friedrich on April 19, 2024. (lcdlf1) (Entered:
                   04/19/2024)
04/30/2024   128   MOTION for Leave to File Under Seal a Supplement Application by ZACHARY
                   JORDAN ALAM. (Attachments: # 1 Memorandum in Support, # 2 Exhibit
                   A)(Metcalf, Steven) (Entered: 04/30/2024)
05/06/2024         Minute Entry for Sentencing before Judge Dabney L. Friedrich. Court denies 117
                   Motion for Acquittal as to ZACHARY JORDAN ALAM and denies 117 MOTION
                   pursuant to Rule 33 for New Trial as to ZACHARY JORDAN ALAM. Court grants
                   defendant's oral motion to continue the trial. Responses to Sentencing due by
                   7/12/2024. Sentencing Memorandum due by 7/8/2024. Sentencing set for 7/17/2024
                   at 9:30 AM in Courtroom 14− In Person before Judge Dabney L. Friedrich. Status
                   Conference set for 5/15/2024 at 11:30 AM via video before Judge Dabney L.
                   Friedrich. Bond Status of Defendant: Remains Committed; Court Reporter: Sara
                   Wick Defense Attorney: Steven Metcalf; US Attorney: Rebekah Lederer and Joe
                   Smith; Prob Officer: Jessica Reichler. (zjch, ) (Entered: 05/06/2024)
05/06/2024         MINUTE ORDER as to ZACHARY JORDAN ALAM. For the reasons stated in
                   today's hearing, the defendant's motions for judgment of acquittal and/or a new trial
                   are DENIED. Consistent with the discussion at today's hearing, sentencing in this
                   matter is CONTINUED to July 17, 2024 at 9:30 am so that the defendant may obtain
                   records relevant for sentencing. A status hearing is set for May 15, 2024 at 11:30 am
                   by videoconference. The Court will not grant further continuances in this action.

                   On or before May 7, 2024, the defendant shall transmit the records he received in
                   court today to the government, with redactions as necessary. If the government
                   contests any of the defendant's redactions, it shall raise the issue with the Court.

                   On or before July 8, 2024, the defendant shall file a supplemental sentencing
                   memorandum that includes the new argument he intends to advance at sentencing
                   based on records and other information he has (or will obtain). The defense shall file
                   the supplemental memorandum in redacted form, if necessary, and with the
                   appropriate motion to seal. The defendant shall also attach any relevant records as
                   exhibits to the his memorandum. The government shall file any response on or before
                   July 12, 2024. Both parties' memoranda should also discuss comparable sentencing
                   proceedings, if any, occurring between today and July 8. They should also discuss the
                   effect of Fischer v. United States (U.S. No. 23−5572) on the defendant's sentence,
                   assuming that Fischer is decided before July 8, 2024.

                   So Ordered by Judge Dabney L. Friedrich on May 6, 2024. (lcdlf1) (Entered:
                   05/06/2024)
05/06/2024         Set/Reset Deadlines as to ZACHARY JORDAN ALAM: The defendant shall
                   transmit the records he received in court to the government, with redactions as


                                                                                                            34
  Case 1:21-cr-00190-DLF          Document 141         Filed 12/02/24      Page 35 of 46



                   necessary by 5/7/2024. (zjch, ) (Entered: 05/07/2024)
05/14/2024         NOTICE OF HEARING as to ZACHARY JORDAN ALAM. Status Conference set
                   for 5/15/2024 at 9:00 AM via video before Judge Dabney L. Friedrich. (zjch, )
                   (Entered: 05/14/2024)
05/14/2024         MINUTE ORDER as to ZACHARY JORDAN ALAM. The status conference
                   scheduled for May 15, 2024 at 11:30 am is RESCHEDULED for May 15, 2024 at
                   9:00 am via videoconference. So Ordered by Judge Dabney L. Friedrich on May 14,
                   2024. (lcdlf1) (Entered: 05/14/2024)
05/15/2024         Minute Entry for Status Conference as to ZACHARY JORDAN ALAM held on
                   5/15/2024 before Judge Dabney L. Friedrich. Parties updated the court on efforts to
                   acquire records from defendant's previous facilities. Bond Status of Defendant:
                   Remains Committed − Presence waived; Court Reporter: Sara Wick; Defense
                   Attorney: Steven Metcalf; US Attorney: Rebekah Lederer and Joseph Smith. (zjch, )
                   (Entered: 05/15/2024)
06/28/2024         MINUTE ORDER as to ZACHARY JORDAN ALAM. On or before July 5, 2024,
                   the government shall show cause why Count 5 of the Second Superseding Indictment
                   should not be dismissed in light of Fischer v. United States, 603 U.S. ___ (2024).
                   Further, on or before July 5, 2024, the parties shall submit supplemental sentencing
                   memoranda discussing the impact of Fischer on the defendant's Guidelines range and
                   appropriate sentence under 18 U.S.C. 3553(a). So Ordered by Judge Dabney L.
                   Friedrich on June 28, 2024. (lcdlf1) (Entered: 06/28/2024)
06/28/2024         Set/Reset Deadlines as to ZACHARY JORDAN ALAM: Supplemental Sentencing
                   Memorandum due by 7/5/2024. Show Cause Response due by 7/5/2024. (zjch, )
                   (Entered: 07/01/2024)
07/03/2024   130   Joint MOTION for Extension of Time to Respond to the Court's 6/28/24 Minute
                   Order and to Continue Sentencing by USA as to ZACHARY JORDAN ALAM.
                   (Lederer, Rebekah) (Entered: 07/03/2024)
07/03/2024   131   MOTION to Continue the Supplemental Guidelines Briefing and Sentencing Hearing
                   by USA as to ZACHARY JORDAN ALAM. (See docket entry 130 to view
                   document) (zljn) (Entered: 07/03/2024)
07/05/2024         MINUTE ORDER as to ZACHARY JORDAN ALAM. Upon consideration of the
                   parties' joint 130 131 Motion for Extension of Time, the motion is GRANTED. The
                   Court's supplemental guidelines briefing deadline is extended to August 8, 2024. The
                   defendant's sentencing hearing is CONTINUED to August 22, 2024 in Courtroom 14.
                   The parties shall contact the Courtroom Deputy to arrange a time on August 22 for
                   sentencing. So Ordered by Judge Dabney L. Friedrich on July 5, 2024. (lcdlf1)
                   (Entered: 07/05/2024)
07/08/2024         NOTICE OF HEARING as to ZACHARY JORDAN ALAM. Sentencing set for
                   8/22/2024 at 1:30 PM in Courtroom 14− In Person before Judge Dabney L. Friedrich.
                   (zjch, ) (Entered: 07/08/2024)
08/08/2024   132   RESPONSE TO ORDER OF THE COURT by USA as to ZACHARY JORDAN
                   ALAM re Order,,, Set Deadlines,, and Government's Unopposed Motion to Dismiss
                   Count 5 of the Second Superseding Indictment (Smith, Joseph) (Entered: 08/08/2024)
08/08/2024   133   SUPPLEMENT by USA as to ZACHARY JORDAN ALAM re 123 Sentencing
                   Memorandum SUPPLEMENTAL SENTENCING MEMORANDUM (Smith, Joseph)

                                                                                                          35
  Case 1:21-cr-00190-DLF          Document 141          Filed 12/02/24       Page 36 of 46



                   Modified link on 8/9/2024 (znmw). (Main Document 133 replaced on 8/21/2024)
                   (zljn). (Entered: 08/08/2024)
08/09/2024         MINUTE ORDER as to ZACHARY JORDAN ALAM (1). Upon consideration of
                   the defendant's 134 Motion for Leave to File Under Seal, the motion is DENIED
                   without prejudice. Counsel may refile his motion to seal, justifying any redactions
                   under United States v. Hubbard, 650 F.2d 293, 317 (D.C. Cir. 1980). Large portions
                   of the defendant's Second Sentencing Memorandum, which he has improperly
                   incorporated into his 134 Motion (as opposed to submitted as an attached exhibit to
                   the motion to seal) contain text, including argument, that is not seal worthy, id.

                   Accordingly, on or before August 12, 2024, the defendant shall file (1) on the public
                   record a redacted version of any second sentencing memorandum that satisfies the
                   Hubbard factors, id., and (2) under seal any renewed motion to seal, with attached
                   exhibits as appropriate. If the Court grants the defendant's motion to seal, it will
                   unseal the defendant's motion and file the attached exhibits under seal.

                   The government shall submit any response to the defendants second sentencing
                   memorandum on or before August 16, 2024.

                   As appropriate, the Court will conduct a sealed hearing to begin at 1:30 p.m. on
                   August 22, 2024, in Courtroom 14. The public portion of the sentencing hearing shall
                   begin at approximately 1:45 p.m. So Ordered by Judge Dabney L. Friedrich on
                   August 9, 2024. (lcdlf1) (Entered: 08/09/2024)
08/14/2024   135   SUPPLEMENT by ZACHARY JORDAN ALAM re 127 Sentencing Memorandum
                   Sentencing Memo, Redacted (Metcalf, Steven) Modified to add link on 8/15/2024
                   (znmw). (Entered: 08/14/2024)
08/20/2024         NOTICE OF HEARING as to ZACHARY JORDAN ALAM. Sentencing set for
                   9/30/2024 at 10:00 AM in Courtroom 14− In Person before Judge Dabney L.
                   Friedrich. (zjch, ) (Entered: 08/20/2024)
09/27/2024         NOTICE OF HEARING as to ZACHARY JORDAN ALAM. Sentencing set for
                   10/16/2024 at 9:30 AM in Courtroom 14− In Person before Judge Dabney L.
                   Friedrich. (zjch, ) (Entered: 09/27/2024)
10/11/2024   136   SUPPLEMENT by USA as to ZACHARY JORDAN ALAM re 127 Sentencing
                   Memorandum, 123 Sentencing Memorandum (Lederer, Rebekah) (Entered:
                   10/11/2024)
10/15/2024         Terminate Deadlines and Hearings as to ZACHARY JORDAN ALAM:, Set/Reset
                   Deadlines/Hearings as to ZACHARY JORDAN ALAM:Status Conference set for
                   10/16/2024 at 9:30 AM VIA VIDEO before Judge Dabney L. Friedrich. (zjch, )
                   (Entered: 10/15/2024)
10/16/2024   137   STATUS REPORT of government counsels' schedule by USA as to ZACHARY
                   JORDAN ALAM (Lederer, Rebekah) (Entered: 10/16/2024)
10/16/2024         MINUTE ORDER as to ZACHARY JORDAN ALAM (1). A sentencing hearing is
                   scheduled for October 30, 2025 at 12:30 p.m. in person in Courtroom 14. A backup
                   hearing is scheduled for November 7, 2025 at 12:30 p.m. in person in Courtroom 14.
                   In the event that either party anticipates it will be unavailable for the October 30
                   hearing date, it shall inform the Courtroom Deputy no later than 24 hours in advance.
                   So Ordered by Judge Dabney L. Friedrich on October 16, 2024. (lcdlf1) (Entered:

                                                                                                           36
  Case 1:21-cr-00190-DLF          Document 141         Filed 12/02/24       Page 37 of 46



                   10/16/2024)
10/16/2024         Minute Entry for Status Conference as to ZACHARY JORDAN ALAM held on
                   10/16/2024 before Judge Dabney L. Friedrich: Sentencing set for 10/30/2024 at 12:30
                   PM in Courtroom 14− In Person before Judge Dabney L. Friedrich. Back up
                   Sentencing date set for 11/7/2024 at 12:30 PM in Courtroom 14− In Person before
                   Judge Dabney L. Friedrich. Bond Status of Defendant: Remains Committed; Court
                   Reporter: Sara Wick; Defense Attorney: Steven Metcalf; US Attorney: Rebekah
                   Lederer and Joseph Smith. (zjch, ) (Entered: 10/16/2024)
10/28/2024         NOTICE OF HEARING as to ZACHARY JORDAN ALAM. Sentencing set for
                   11/7/2024 at 12:30 PM in Courtroom 14− In Person before Judge Dabney L.
                   Friedrich. (zjch, ) (Entered: 10/28/2024)
11/07/2024         Minute Entry for Sentencing held on 11/7/2024 as to ZACHARY JORDAN ALAM
                   as to Counts 1ss,3ss,4ss,6ss,7ss,8ss,9ss,10ss,11ss before Judge Dabney L. Friedrich.
                   Defendant sentenced to ninety−six (96) months of incarceration to run concurrent,
                   three (3) years of supervised release to run concurrent, $4,484 restitution and $630
                   special assessment. Bond Status of Defendant: Remains Committed; Court Reporter:
                   Sara Wick; Defense Attorney: Steven Metcalf; US Attorney: Rebekah Lederer and
                   Joe Smith; Prob Officer: Sherry Baker. (zjch, ) (Entered: 11/08/2024)
11/15/2024   138   JUDGMENT as to ZACHARY JORDAN ALAM. Statement of Reasons Not
                   Included. Signed by Judge Dabney L. Friedrich on 11/15/2024. (zstd) (Entered:
                   11/18/2024)
11/15/2024   139   STATEMENT OF REASONS as to ZACHARY JORDAN ALAM re 138 Judgment
                   Access to the PDF Document is restricted per Judicial Conference Policy. Access is
                   limited to Counsel of Record and the Court. Signed by Judge Dabney L. Friedrich on
                   11/15/2024. (zstd) (Entered: 11/18/2024)
12/02/2024   140   NOTICE OF APPEAL − Final Judgment by ZACHARY JORDAN ALAM Fee
                   Status: No Fee Paid. Parties have been notified. (Attachments: # 1 Exhibit Judgment
                   filed on November 18, 2024)(Metcalf, Steven) (Entered: 12/02/2024)




                                                                                                          37
Use theCase
        Tab 1:21-cr-00190-DLF
            key to move from fieldDocument
                                  to field on 141
                                              this form.
                                                      Filed 12/02/24                      CO-290
                                                                              Page 38 of 46
  Notice of Appeal Criminal                                                             Rev. 3/88



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  UNITED STATES OF AMERICA                           )
                                                     )
                        vs.                          )        Criminal No. CR 21-190
                                                     )
   ZACHARY ALAM                                      )


                                       OTICE OF APPEAL


 Name and address of appellant:                     Zachary Alam




 Name and address of appellant’s attorney:          Steven A. Metcalf, Esq.
                                                    99 Park Ave., Suite 810
                                                    New York, NY 10016



 Offense: On November 18, 2024, Judgment was filed. Please see the attached.

 Concise statement of judgment or order, giving date, and any sentence:




 Name and institution where now confined, if not on bail: DC Jail


         I, the above named appellant, hereby appeal to the United States Court of Appeals for the
 District of Columbia Circuit from the above-stated judgment.
   1RYHPEHU                                     =DFKDU\$ODP
  DATE                                               APPELLANT

                                                     ATTORNEY FOR APPELLANT
                                                                  APP
                                                                   PPEL
                                                                   PP
                                                                    P

 GOVT. APPEAL, NO FEE
 CJA, NO FEE                  ✔
 PAID USDC FEE
 PAID USCA FEE
 Does counsel wish to appear on appeal?                          YES        NO ✔
 Has counsel ordered transcripts?                                YES        NO   ✔
 Is this appeal pursuant to the 1984 Sentencing Reform Act?      YES        NO   ✔


                                                                                                     38
                       Case 1:21-cr-00190-DLF               Document 141              Filed 12/02/24          Page 39 of 46


AO 245B (Rev. 09/19)    Judgment in a Criminal Case
                        Sheet 1



                                           UNITED STATES DISTRICT COURT
                                                            District
                                                      __________     of Columbia
                                                                  District of __________
                                                                          )
              UNITED STATES OF AMERICA                                    )       JUDGMENT IN A CRIMINAL CASE
                         v.                                               )
                                                                          )
                                                                          )       Case Number:
                                                                          )       USM Number:
                                                                          )
                                                                          )
                                                                          )       Defendant’s Attorney
THE DEFENDANT:
   pleaded guilty to count(s)
   pleaded nolo contendere to count(s)
   which was accepted by the court.
   was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                    Nature of Offense                                                        Offense Ended               Count




       The defendant is sentenced as provided in pages 2 through                          of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
   The defendant has been found not guilty on count(s)
   Count(s)                                                 is       are dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.


                                                                         Date of Imposition of Judgment




                                                                         Signature of Judge




                                                                         Name and Title of Judge




                                                                         Date




                                                                                                                                                   51
                   Case 1:21-cr-00190-DLF            Document 141   Filed 12/02/24     Page 40 of 46

AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 1A
                                                                                     Judgment—Page     of
DEFENDANT:
CASE NUMBER:

                                           ADDITIONAL COUNTS OF CONVICTION
Title & Section                  Nature of Offense                            Offense Ended          Count




                                                                                                             52
                     Case 1:21-cr-00190-DLF                 Document 141            Filed 12/02/24       Page 41 of 46


AO 245B (Rev. 09/19) Judgment in Criminal Case
                     Sheet 2 — Imprisonment
                                                                                                    Judgment — Page           of
 DEFENDANT:
 CASE NUMBER:

                                                            IMPRISONMENT
           The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
 total term of:




          The court makes the following recommendations to the Bureau of Prisons:




          The defendant is remanded to the custody of the United States Marshal.

          The defendant shall surrender to the United States Marshal for this district:

               at                                    a.m.          p.m.        on                                         .

               as notified by the United States Marshal.

          The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

               before 2 p.m. on                                            .
               as notified by the United States Marshal.

               as notified by the Probation or Pretrial Services Office.


                                                                  RETURN
 I have executed this judgment as follows:




          Defendant delivered on                                                          to

 at                                                , with a certified copy of this judgment.



                                                                                                  UNITED STATES MARSHAL


                                                                           By
                                                                                               DEPUTY UNITED STATES MARSHAL




                                                                                                                                   53
                    Case 1:21-cr-00190-DLF              Document 141            Filed 12/02/24          Page 42 of 46


AO 245B (Rev. 09/19) Judgment in a Criminal Case
                     Sheet 3 — Supervised Release
                                                                                                      Judgment—Page           of
DEFENDANT:
CASE NUMBER:
                                                     SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of:




                                                    MANDATORY CONDITIONS
1.   You must not commit another federal, state or local crime.
2.   You must not unlawfully possess a controlled substance.
3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
     imprisonment and at least two periodic drug tests thereafter, as determined by the court.
                The above drug testing condition is suspended, based on the court's determination that you
                pose a low risk of future substance abuse. (check if applicable)
4.       You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
         restitution. (check if applicable)
5.       You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.       You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
         directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
         reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7.       You must participate in an approved program for domestic violence. (check if applicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.




                                                                                                                                             54
                   Case 1:21-cr-00190-DLF                 Document 141            Filed 12/02/24          Page 43 of 46


AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 3A — Supervised Release
                                                                                               Judgment—Page                  of
DEFENDANT:
CASE NUMBER:

                                       STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
      release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
      frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
      court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
      the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
      hours of becoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
      take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
      doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
      you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
      responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
      days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
      becoming aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
      convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
      probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
      designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
      first getting the permission of the court.
12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
      require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
      person and confirm that you have notified the person about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                                                    Date




                                                                                                                                              55
                   Case 1:21-cr-00190-DLF              Document 141   Filed 12/02/24     Page 44 of 46

AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 3D — Supervised Release
                                                                                       Judgment—Page     of
DEFENDANT:
CASE NUMBER:

                                         SPECIAL CONDITIONS OF SUPERVISION




                                                                                                              56
                       Case 1:21-cr-00190-DLF                    Document 141            Filed 12/02/24         Page 45 of 46

AO 245B (Rev. 09/19)    Judgment in a Criminal Case
                        Sheet 5 — Criminal Monetary Penalties
                                                                                                         Judgment — Page            of
 DEFENDANT:
 CASE NUMBER:
                                                 CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                       Assessment
 TOTALS           $                          $                       $                          $                          $


      The determination of restitution is deferred until                   . An Amended Judgment in a Criminal Case (AO 245C) will be
      entered after such determination.

      The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
      the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
      before the United States is paid.

 Name of Payee                                                   Total Loss***                  Restitution Ordered        Priority or Percentage




 TOTALS                                $                                      $


       Restitution amount ordered pursuant to plea agreement $

       The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

       The court determined that the defendant does not have the ability to pay interest and it is ordered that:

           the interest requirement is waived for the               fine         restitution.

           the interest requirement for the               fine        restitution is modified as follows:

 * Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
 ** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
 *** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on
 or after September 13, 1994, but before April 23, 1996.

                                                                                                                                                    57
                       Case 1:21-cr-00190-DLF                  Document 141              Filed 12/02/24            Page 46 of 46

AO 245B (Rev. 09/19)    Judgment in a Criminal Case
                        Sheet 6 — Schedule of Payments
                                                                                                                Judgment — Page             of
 DEFENDANT:
 CASE NUMBER:

                                                         SCHEDULE OF PAYMENTS

 Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

 A          Lump sum payment of $                                due immediately, balance due

                  not later than                                     , or
                  in accordance with           C,         D,          E, or           F below; or

 B          Payment to begin immediately (may be combined with                   C,           D, or        F below); or

 C          Payment in equal                          (e.g., weekly, monthly, quarterly) installments of $                 over a period of
                            (e.g., months or years), to commence                       (e.g., 30 or 60 days) after the date of this judgment; or

 D          Payment in equal                          (e.g., weekly, monthly, quarterly) installments of $                 over a period of
                            (e.g., months or years), to commence                       (e.g., 30 or 60 days) after release from imprisonment to a
            term of supervision; or

 E          Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

 F          Special instructions regarding the payment of criminal monetary penalties:




 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
 the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate
 Financial Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



      Joint and Several

      Case Number
      Defendant and Co-Defendant Names                                                      Joint and Several                Corresponding Payee,
      (including defendant number)                          Total Amount                         Amount                          if appropriate




      The defendant shall pay the cost of prosecution.

      The defendant shall pay the following court cost(s):

      The defendant shall forfeit the defendant’s interest in the following property to the United States:



 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment,
 (5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of
 prosecution and court costs.

                                                                                                                                                    58
